      Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 1 of 89




DJF:SSD

                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WALTER DELLINGER, JR.             :
and LORI L. DELLINGER,            :
          Plaintiffs              :
                                  :
          v.                      :
                                  :
KARLI RICHARDS, RICHARDS          :
ORTHOPAEDIC CENTER AND            :
SPORTS MEDICINE, LLC, THE         :
CHAMBERSBURG HOSPITAL,            :
WOUND CENTER and SUMMIT           :
HEALTH,                           :
         Defendants               :
                                  :
          v.                      :
                                  :
UNITED STATES OF AMERICA,         :
         Additional Defendant     :

    ______________________________________________________

              EXHIBITS TO NOTICE OF REMOVAL
                       OF CIVIL ACTION
    _______________________________________________________

                                       DAVID J. FREED
                                       UNITED STATES ATTORNEY

                                       Samuel S. Dalke
                                       Assistant U.S. Attorney
                                       Atty. I.D. #PA 311803
                                       228 Walnut St, Suite 220
                                       Harrisburg, PA 17101
                                       Phone (717) 221-4482
                                       samuel.s.dalke@usdoj.gov
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 2 of 89




         Exhibit 1
            Case
             Case1:18-cv-02119-YK
                   1:17-cv-01537-YK Document
                                     Document1-2 Filed 10/31/17
                                              8 Filed  11/02/18 Page
                                                                Page 13 of
                                                                        of 589




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WALTER DELLINGER, JR.,                           :
and LORI DELLINGER,                              :
      Plaintiffs                                 :       No. 1:17-cv-1537
                                                 :
       v.                                        :
                                                 :       (Judge Kane)
UNITED STATES OF AMERICA,                        :
KARLI RICHARDS, RICHARDS                         :
ORTHOPAEDIC CENTER AND                           :
SPORTS MEDICINE, LLC, THE                        :
CHAMBERSBURG HOSPITAL,                           :
WOUND CENTER and SUMMIT                          :
HEALTH,                                          :
     Defendants                                  :

                                            ORDER

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

       In April 2017, Plaintiffs Walter Dellinger, Jr. and Lori Dellinger filed this medical

malpractice action in the Court of Common Pleas of Franklin County against Defendants Karli

Richards, Ganga Ramidi, Richards Orthopaedic Center and Sports Medicine, LLC, the

Chambersburg Hospital, Wound Center and Summit Health, asserting claims arising out of a

surgical procedure on and subsequent treatment for Plaintiff Walter Dellinger’s right foot at the

Chambersburg Hospital. (Doc. No. 1-1.)1 On August 28, 2017, Defendant United States of

America (“United States”), substituted itself as a Defendant in place of Defendant Ganga

Ramidi, one of Plaintiff’s treating physicians, and removed the action to this Court pursuant to

28 U.S.C. § 2679(d), which provides:



       1
         In May 2017, Plaintiffs filed an amended complaint against the same Defendants. (Doc.
No. 1-1.)

                                                1
         Case
          Case1:18-cv-02119-YK
                1:17-cv-01537-YK Document
                                  Document1-2 Filed 10/31/17
                                           8 Filed  11/02/18 Page
                                                             Page 24 of
                                                                     of 589




       Upon certification by the Attorney General that the defendant employee was
       acting within the scope of his office or employment at the time of the incident
       out of which the claim arose, any civil action or proceeding commenced upon
       such claim in a State court shall be removed without bond at any time before
       trial by the Attorney General to the district court of the United States for the
       district and division embracing the place in which the action or proceeding is
       pending. Such action or proceeding shall be deemed to be an action or
       proceeding brought against the United States under the provisions of this title
       and all references thereto, and the United States shall be substituted as a party
       defendant.

28 U.S.C. § 2679(d)(2); see also 42 U.S.C. § 233.

       In accordance with the statutory framework described above, in its Notice of Removal

and attached exhibits, the United States certified that Defendant Ganga Ramidi was an employee

of the Keystone Rural Health Center at all times relevant to Plaintiffs’ complaint, and that,

pursuant to the provisions of the Federally Supported Health Centers Assistance Act, 42 U.S.C. §

233(g)-(n) (“FHSCA”), the United States Department of Health and Human Services had

deemed her to be a covered employee of the United States for purposes of the Federal Tort

Claims Act, 28 U.S.C. §§ 2671 et seq. (“FTCA”). (Doc. No. 1-1, Exhibits B and C.)

       Subsequently, on September 1, 2017, the United States filed a Motion to Dismiss

Amended Complaint for Lack of Subject Matter Jurisdiction. (Doc. No. 3.) On September 15,

2017, the United States filed a brief in support of its motion. (Doc. No. 5.) Plaintiffs filed a

Response to Defendant’s Motion to Dismiss (Doc. No. 4), and a Brief in Opposition to

Defendant’s Motion (Doc. No. 6). The United States filed a reply brief in further support of its

motion on October 10, 2017. (Doc. No. 7.) Accordingly, the matter is ripe for disposition.

       As an initial matter, the Court addresses the appropriate standard of review by which to

assess a motion to dismiss for lack of subject matter jurisdiction pursuant to Federal Rule of

Civil Procedure 12(b)(1). If a defendant’s challenge to subject matter jurisdiction depends on a

                                                  2
          Case
           Case1:18-cv-02119-YK
                 1:17-cv-01537-YK Document
                                   Document1-2 Filed 10/31/17
                                            8 Filed  11/02/18 Page
                                                              Page 35 of
                                                                      of 589




facial attack of the pleadings, “the court must consider the allegations of the complaint as true,”

as it would with regard to a motion to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6). Mortensen v. First Federal Savings and Loan Ass’n, 549 F.2d 884, 891 (3d Cir. 1977).

However, a motion that challenges “the existence of subject matter jurisdiction in fact, quite

apart from any pleadings,” does not require a court to consider all allegations of the complaint as

true, and the court is free to weigh the evidence in an effort to ensure that it has power to hear the

case. Id. In such circumstances, the plaintiff bears the burden of proof that jurisdiction exists.

Id.

       The United States moves for dismissal of the FTCA claims against it on the basis that this

Court lacks subject matter jurisdiction over Plaintiffs’ claims against it because Plaintiffs have

failed to exhaust their administrative remedies as to their FTCA claims. As the pending motion

to dismiss presents a factual challenge to the Court’s subject matter jurisdiction to hear

Plaintiffs’ claims against the United States, the Court need not consider all allegations of the

complaint as true, and may review the evidence to ensure the Court’s power to hear the case.

Mortensen, 549 F.2d at 891. Moreover, Plaintiff bears the burden of proof as to subject matter

jurisdiction. Id.

       Plaintiffs oppose the motion to dismiss. Specifically, while they admit that they have not

filed an administrative tort claim with the United States Department of Health and Human

Services (Doc. No. 4 ¶ 9), Plaintiffs argue that Mr. Dellinger had no knowledge that he was

treated by an FTCA covered employee of the Keystone Rural Health Center while at the

Chambersburg Hospital, and thus, should be excused from the FTCA’s exhaustion requirement

under the principle of ostensible agency (Doc. No. 6 at 4).


                                                  3
           Case
            Case1:18-cv-02119-YK
                  1:17-cv-01537-YK Document
                                    Document1-2 Filed 10/31/17
                                             8 Filed  11/02/18 Page
                                                               Page 46 of
                                                                       of 589




       Upon careful review of the parties’ briefs, the relevant cited authority, and the exhibits

submitted, the Court finds that Plaintiffs have failed to meet their burden to establish this Court’s

subject matter jurisdiction over their claims against Defendant United States. A plaintiff must

first present a claim to the responsible administrative agency for final decision before bringing a

tort claim against the United States. 28 U.S.C. § 2675(a);2 McNeil v. United States, 508 U.S.

106, 113 (1983) (holding that the “FTCA bars claimants from bringing suit in federal court until

they have exhausted their administrative remedies.”). The FTCA “provides a limited exception

to the United States’ immunity from suit for certain tort claims,” but its requirement of

exhaustion of administrative remedies must be met before a plaintiff can assert a tort claim

against the federal government. Abulkhair v. Bush, 413 F. App’x 502, 506 (3d Cir. 2011). As

the Third Circuit has stated, “[i]n light of the clear, mandatory language of the statute, and [the]

strict construction of the limited waiver of sovereign immunity by the United States, we have

held that the requirement that the appropriate federal agency act on a claim before suit can be

brought is jurisdictional and cannot be waived.” Roma v. United States, 344 F.3d 352, 362 (3d

Cir. 2003) (citing Livera v. First Nat’l Bank of N.J., 879 F.2d 1186, 1194 (3d Cir. 1989)).

Accordingly, pursuant to the above authority, the Court is without jurisdiction to address

Plaintiffs’ claims against the United States at this juncture, and therefore, the United States must


       2
           The statute provides, in relevant part, that

       An action shall not be instituted upon a claim against the United States for money
       damages for . . . personal injury or death caused by the negligence or wrongful act
       or omission from any employee of the Government while acting within the scope
       of his office or employment unless the plaintiff shall have first presented the claim
       to the appropriate federal agency and the claim shall have been denied by the agency.

28 U.S.C. § 2675(a).

                                                    4
            Case
             Case1:18-cv-02119-YK
                   1:17-cv-01537-YK Document
                                     Document1-2 Filed 10/31/17
                                              8 Filed  11/02/18 Page
                                                                Page 57 of
                                                                        of 589




be dismissed without prejudice from this action. See Abulkhair, 413 F. App’x at 506 (finding

that district court properly dismissed FTCA claim where the plaintiff filed federal suit prior to

exhausting administrative remedies); Accolla v. United States, 369 F. App’x 408, 409 (3d Cir.

2010) (same).

       Further, as the FTCA claims against the United States provided the sole basis for this

Court’s original jurisdiction, the Court declines to exercise supplemental jurisdiction over

Plaintiffs’ state law claims against the remaining Defendants, and will remand the case to the

Court of Common Pleas of Franklin County. See 28 U.S.C. § 1367(c)(3) (providing that a

district court may decline to exercise supplemental jurisdiction over a claim if “the district court

has dismissed all claims over which it has original jurisdiction”).

       ACCORDINGLY, on this 31st day of October 2017, IT IS ORDERED THAT:

       1,       The United States’ Motion to Dismiss for Lack of Subject Matter Jurisdiction
                (Doc. No. 3), is GRANTED;

       2.       The United States is DISMISSED WITHOUT PREJUDICE from this action;
                and

       3.       The Clerk of Court is directed to REMAND the case to the Court of Common
                Pleas of Franklin County and CLOSE this case.


                                                      s/ Yvette Kane
                                                      Yvette Kane, District Judge
                                                      United States District Court
                                                      Middle District of Pennsylvania




                                                 5
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 8 of 89




         Exhibit 2
                           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 9 of 89
                                                                                              Switch Client   |   My Briefcase   |   Order Runner Documents   |   Lexis Advance | Sign Out |
                                                                                                                                                                    Welcome, Samuel Dalke

Single Search - with Terms and Connectors
 Enter keywords - Search multiple dockets & documents                                               Search          Info



 My CourtLink          Search        Dockets & Documents            Track         Alert        Strategic Profiles            Breaking Complaints          My Account           Court Info


       Search > Docket Search > Dellinger et al v. United States of America et al



                                                      New Docket Search             Search in Same Court

 Docket Tools

     Get Updated Docket           Track Docket Activity          Search for Similar           Set Alert for Similar Dockets
                                                                                                                                              [Add to My Briefcase]
  This docket was retrieved     CourtLink can alert you       Start a new search           CourtLink alerts you when there are                [Email this Docket]
  from the court on             when there is new activity    based on the                 new cases that match characteristics               [Printer Friendly Format]
  8/28/2017                     in this case                  characteristics of this      of this case
                                                              case
                                        Rulings for this case may be available online. Click here to view available rulings.
                                Additional resources for cases like this may be found in our LexisNexis Practice Area communities.


   Docket




                                                             US District Court Civil Docket

                                                             U.S. District - Pennsylvania Middle
                                                                          (Harrisburg)

                                                                         1:17cv1537

                                              Dellinger et al v. United States of America et al
                                              This case was retrieved from the court on Monday, August 28, 2017


                                                                            Update Now




         Date Filed: 08/28/2017
       Assigned To: Honorable Yvette Kane
       Referred To:                                                                          Class Code: CLOSED
            Nature of                                                                            Closed: 10/31/2017
                suit: Taxes (870)                                                               Statute: 28:2671
              Cause: Federal Tort Claims Act                                              Jury Demand: Plaintiff
      Lead Docket: None                                                                 Demand Amount: $0
     Other Docket: Franklin County Court of Common Pleas, 17-                           NOS Description: Taxes
                   01537
       Jurisdiction: U.S. Government Defendant

                                      Litigants                                                                            Attorneys
   Walter Dellinger, Jr.                                                           Richard C. Angino
   Plaintiff                                                                       LEAD ATTORNEY;ATTORNEY TO BE NOTICED
                                                                                   Angino & Lutz, P.C.
                                                                                   4503 N. Front St
                                                                                   Harrisburg , PA 17110
                                                                                   USA
                                                                                   717-238-6791
                                                                                   Email:Rca@anginolaw.Com

   Lori L. Dellinger                                                               Richard C. Angino
   Plaintiff                                                                       LEAD ATTORNEY;ATTORNEY TO BE NOTICED
                                                                                   Angino & Lutz, P.C.
                                                                                   4503 N. Front St
                                                                                   Harrisburg , PA 17110
                                                                                   USA
                                                                                   717-238-6791
                                                                                   Email:Rca@anginolaw.Com

   United States of America                                                        Samuel S. Dalke
   Defendant                                                                       LEAD ATTORNEY;ATTORNEY TO BE NOTICED
                                                                                   U.S. Attorney's Office, MDPA -- SS CASES
                                                                                   228 Walnut Street, Suite 220
                                                                                   P.O. Box 11754
                                                                                   Harrisburg , PA 17108
                                                                                   USA
                                                                                   717-221-4453
                                                                                   Email:Samuel.S.Dalke@usdoj.Gov

   Karli Richards
                        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 10 of 89
  Defendant
  Richards Orthopaedic Center And Sports Medicine, Llc
  Defendant
  The Chambersburg Hospital, Wound Center
  Defendant
  Summit Health
  Defendant



Documents


 Retrieve Document(s)           Send to TimeMap

                                                                      Items 1 to 8 of 8

  Availability No.      Date                                                     Proceeding Text                                                    Source
                                                                                                     Filter
                                NOTICE OF REMOVAL by United States of America from Franklin County Court of Common Pleas, case number
  Online       1     08/28/2017 17-CV-1603. ( Filing fee $ 400 ), filed by United States of America. (Attachments: # 1 Exhibit(s), # 2 Civil
                                Cover Sheet)(aaa) (Entered: 08/28/2017)
                                                                                                                                                   Events
                                  Letter addressed to counsel, Re: Case Assignment and Procedures. Signed by Honorable Yvette Kane on
  Online       2     08/30/2017                                                                                                                    since last
                                  8/30/17. (rw) (Entered: 08/30/2017)
                                                                                                                                                   full update
                                                                                                                                                Events
                                  MOTION to Dismiss for Lack of Jurisdiction by United States of America. (Attachments: # 1 Proposed Order, # 2
  Online       3     09/01/2017                                                                                                                 since last
                                  Certificate of Nonconcurrence, # 3 Exhibit(s))(Dalke, Samuel) (Entered: 09/01/2017)
                                                                                                                                                full update
                                                                                                                                                   Events
                                  Plaintiff's ANSWER to Petition for Removal of Defendant United States of America by Lori L. Dellinger, Walter
  Online       4     09/13/2017                                                                                                                    since last
                                  Dellinger, Jr.(Angino, Richard) (Entered: 09/13/2017)
                                                                                                                                                   full update
                                                                                                                                                   Events
                                  BRIEF IN SUPPORT re 3 MOTION to Dismiss for Lack of Jurisdiction filed by United States of America.
  Online       5     09/15/2017                                                                                                                    since last
                                  (Attachments: # 1 Unpublished Opinion(s))(Dalke, Samuel) (Entered: 09/15/2017)
                                                                                                                                                   full update
                                RESPONSE in Opposition re 3 MOTION to Dismiss for Lack of Jurisdiction , filed by Lori L. Dellinger, Walter        Events
  Online       6     09/25/2017 Dellinger, Jr. Related document: 3 MOTION to Dismiss for Lack of Jurisdiction filed by United States of America.   since last
                                (Angino, Richard) (Entered: 09/25/2017)                                                                            full update
                                                                                                                                                   Events
                                  REPLY BRIEF re 3 MOTION to Dismiss for Lack of Jurisdiction filed by United States of America.(Dalke, Samuel)
  Online       7     10/10/2017                                                                                                                    since last
                                  (Entered: 10/10/2017)
                                                                                                                                                   full update
                                  ORDER REMANDING CASE -IT IS ORDERED that 1. The United States Motion 3 to Dismiss for Lack of Subject
                                                                                                                                            Events
                                  Matter Jurisdiction is GRANTED; 2. The United States is DISMISSED WITHOUT PREJUDICE from this action; and
  Online       8     10/31/2017                                                                                                             since last
                                  3. The Clerk of Court is directed to REMAND the case to the Court of Common Pleas of Franklin County and
                                                                                                                                            full update
                                  CLOSE this case. Signed by Honorable Yvette Kane on 10/31/17. (rw) (Entered: 10/31/2017)
                                                                      Items 1 to 8 of 8

 Retrieve Document(s)           Send to TimeMap

 Dockets may include case events that have occurred since the docket was last updated. For a comprehensive view of the case events,
 please update the docket



                                                    New Docket Search           Search in Same Court



               | About LexisNexis | Terms & Conditions | Pricing | Privacy | Customer Support - 1-888-311-1966 | Copyright © 2018 LexisNexis®. All rights reserved.
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 11 of 89




          Exhibit 3
                          Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 12 of 89
 MARSHALL DENNEHEY                                                                P E   NN SYLVAN IA
                                                                                             Allentown
                                                                                                           OHIO
                                                                                                           Cincinnati
 WARNER COLEMAN & GOGGIN                                                                    Doylestown     Cleveland
                                                                                                    Erie
 ATJORNEYS-AT.TAW         '   WWW.A,IARs HALLDEN NE H EYCOM
                                                                                             Harrisburg
                                                                                                           FLOzuDA
                                                                                                           Ft. Lauderdale
 A   PROFESSIONAL CORPORATION                                                           King of Prussia
                                                                                           Philadelphia
                                                                                                           Jacksonville
100 Corporate CenterDrive, Suite 201, Camp Hill, PA 1701 I                                                 0rlando
                                                                                             Pittsburgh
                                                                                                           Ta   mpa
(717) 651-3500 Fax (717) 651-3707                                                              Scranton
                                                                                        NEW JERSEY         NEW YORK
                                                                                                           Long lsland
Direct Dial: (717) 651-3713                                                               Mount Laurel
                                                                                                           New York City
                                                                                             Roseland
Email: keosbome@mdwcg.com                                                                                  Westchester
                                                                                          DELAWART
                                                                                           Wilminqton

                                                          October 3, 2018


CERTIFIED MAIL                 -   R-E,TURN RECEIPT REQUESTED

Ganga Ramidi, M.D.
c/o St. Elizabeth Physicians
Infectious Disease Crestview            Hills
651 Centre View Boulevard
Crestview Hills, KY 41017

          RE          Dellinger, Jr. Walter v. Chambersburg Hospital and Summit Health
                      Claim No.: 03f61
                      DocketNo.: 2017-1603
                      Our File No.: 03161.00329

Dear Dr. Ramidi:

        Enclosed please find a true and correct copy of the Complaint to Join you as an Additional Defendant
filed with the Franklin County Court of Common Pleas on September 27, 2018.

          Please note that a response is due within twenty (20) days.

          Your attention to this matter is appreciated.

                                                         Very truly yours,


                                                                       !O,t-r*-
                                                         Kevin E. Osbome
KEO/jkw
Enclosure

cc       Michael M. Badowski, Esquire - via email: mbadowski@marsolisedelstein.com
         Richard C. Angino, Esq uire - via email: rca@anginolaw.colq




LECAUI   18600690.v   1
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 13 of 89




                                                                               i.   ;..
                                                                                          !'.
MARSHALL, DENNE}IEY, WARNE& COLEMAN & GOGGIN
By: Kevin E. Osbome, Esquiro
PA Attomey I.D. No. 34991                                                  ,
100 Corporate Center Drive, Suite 201
Camp Hill, PA t70l I                                                   i
Telephone: (717) 651-37 13
keosbome@mdwcB.com                                 -          .i.
Ttairyfi' o"Vndants, The Chanfiercbug HosPital and Sunnnit Healrh
                                                                                          \\-       -
WALTER E. DELLINGER, JR. AND                         IN TTIE COURT OF COMMON PLEA SOF
LORI L. DELLINGER,                                   FRANKI.IN COI.]NTY, PENNSYLVANIA
                 Plaintiffs
                                                     IUDGE:

                                                     NO.20l7-1603
KARLI RICHARDS, DPM, FACFAS,
CWSP; GANGA RAMIDI' M.D.;                            CIVILACTION
RICIIARDS ORTHOPAEDIC CENTER
AND SPORTS MEDICINE, LLC; TTIE                       MEDICAL PROFESSIONAL LIABIITY
CHAMBERSBURG HOSPITAL; WOI.,ND                       ACTION
CENTER, ANd SUMMIT HEALTH,
                        Defendants                   ruRY TRIAL DEMANDED

                                       NOTICE TO DEFEND

TO:     GANGA RAMIDI, M.D'
        Youhavebeensuedincout.Ifyouwishtodefendagainsttheclaimssetforth.inthe
                                                                          this complaint and notice are
 fottowing pages, you must take action within twenty (20) days after
 ;;dl"l#..irig          a w'itten              personallv or.bv attomev and filing in writing with the
 ;il1"*                           ";;;;;;t""
                                       to the claims set forth against v"Y Y"l T-t,YT-t-1 91
               a"r"nrJ. or objectio'Js
                                                                     may be entered against you by the
                                                                                                        lt'*
 fail to do so the case may p.o"""a witt out you and ajudgment
                                                                                         olaim or relief
 6"*t              figther notice foi u"y *o""V olaimed in the complaint or for any
         ",itfr"r,                                                               important to you'
 ,"q,-r".t"a  by the Plaintiff' You may lose money or propefly or other rights

      YOU SHOULD TAKE THIS PAPER TO YOUR LA}YYER AT ONCE' IF TO
                                                               YOU
                                                SET TORTH BELOW
 DO NOT IIAVE A I,AWYER, TELEPHONE THE OFtr'ICE
 FIND OUT WIIERE YOU CAN GET LEGAL HELP.
                                                                  TO
      IF YOU CANNOT AI'F'ORD A LAWYER, TTIIS OFFICE MAY BD ABLDLEGAL
 PROVIDE YOU WITH INIORMATION ON AGENCIES THAT MAY
                                                         OFFER
 innucBs ro ELIGIBLE PD,RsoNs AT A REDUCDD tr'EE oR No FEE'



                                                                                                Y

                                                      TI      s.   sIoNsEUln
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 14 of 89



                    FRANKIIN COTINTY BAR ASSOCIATION
                          FIND A LAWYER SERVICE
                      1OO LINCOLN WAY EAST, SUITE E
                          CHAMBERSBURG,PA 17201
                               717-660-2118


                                   MARSHALL, DENNEI{EY, WARNER
                                   COLEMAN & GOGGIN


                                   BY:

Date
       qf.s f rc                          Kevin E. Osbome, Esquire
                                          At t orney for D efendant s
                                          The Chambersburg Hospital and Summit Health




                                      2
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 15 of 89




MARSHALL, DENNEHEY, WARNER, COLEMAN & GOGGIN
By: Kevin E. Osbome, Esquire
PA Attomey l.D. No. 34991
100 Corporate Center Drive, Suite 201
Camp Hill, PA l70l I
Telephone: (717) 651-37 13
keosbome@mdwc g.com
Attorneyfor Defendants, The Chambersbwg Hospital and Summit HeaIth

WALTER E. DELLINGER, JR. AND                        IN THE COURT OF COMMON PLEAS OF
LORI L. DELLINGER,                                  FRANKLIN COUNTY, PENNSYLVANIA
            Plaintiffs
                                                    JUDGE:

                                                    NO.2017-1603
KARLI zuCHARDS, DPM, FACFAS,
CWSP; GANGA RAMIDI, M.D.;                           CTVIL ACTION
RICHARDS ORTHOPAEDIC CENTER
AND SPORTS MEDICINE, LLC; T}IE                      MEDICAL PROFESSIONAL LIABIITY
CHAMBERSBURG HOSPITAL; WOUND                        ACTION
CENTER, ANd SUMMIT HEALTH,
                   Defendants                       ruRY TRIAL DEMANDED


GANGARAMIDI, M.D.,
                    Additional Defendant.


       COMPL AINT TO JOIN ADD ITIONAL DEFEND ANT G ANGA RAMIDI, M.D.

          AND NOW come Defendants, The chambersbug Hospital and Summit Health, by and

through their counsel, Kevin E. osbome, Esquire, and Marshall Dennehey wamer coleman
                                                                                     &

                                                                           Ramidi' M.D''
Goggin and file the following complaiat to Join Additional Defendant Ganga

asserting and setting forth as follows:

          1.        Plaintiffs walter E. Dellinger, Jr. and Lori   L. Dellinger ("Plaintiffs") filed a
                                                                               to which they
complaint with the court of common Pleas of Franklin county on April 1 7, 2017




 LEGAI-/I 17697300.v1
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 16 of 89



                             Merit. Attached hereto and marked as Exhibit "A" is a true    and correct
attached Certificates of

copy of Plaintiffs' Complaint and Certificates of Merit (No. 2017-1603)'

         2,         The medical negligence action arises out of surgical procedures and subsequent

Ueatment of Plaintiff Walter E. Dellinger, Jr.'s right foot in 2015 and 2016 at The Chambersburg

Hospital.     See   Plaintiffs' Complaint.

          3.AdttitionalDefendant,GangaRamidi,M.D.isalicensedphysicianandwhowas

               to practice medicine in the commonwealth of           Pennsylvania at the time   of Mr'
authorized

Dellinger's relevant medical care.

          4.Uponstipulationofcounsel,PtaintiffsfiledanAmendedComplaintonorabout
                                                                         hereto and marked
May 24,2017 to which they again attached certificates of Merit. Attached
                                                                                                    as


          ,,B" is a true and correct copy of Plaintiffs' Amended complaint and certificates of Merit
Exhibit

(No.2017-1603).

          5.IntheAmendedComplaint,PlaintiffWalterE.Dellinger,Jr.assertedaclaimof
                                                                          CWSP and Richard
professional liability against Co-defendants Karli Richards, DPM, FACFAS,
                                                                            of Merit
orthopaedic center and sports Medicine and attached supporting certificates
                                                                                                     as



Exhibits.A" and,,c, to the complaint.         ,See   Plaintiffs' Amended complaint, at fln2,4,21-22,25-

 )1

          6.IntheAmendedComplaint,PlaintiffWalterE.Dellinger,Jr.assertedaclaimof
                                                                                certificate          of
 professional liability against Ganga B. Ramidi, M.D. and attached a supportirg

 Merit   as   Exhibit'B" to the Complaint.   ,See   Plaintiffs' Amended Complaht, atffi3'23-24'

          T.IntheAmendedComplaint,PlaintiffWalterE.Dellinger,Jr.assertedaclaimof
                                                                            and attached a
 professional liability against The chambersburg Hospital and summit Health
              Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 17 of 89



supporting Certificate        of Merit as Exhibit             Complaint. See Plaintiffs' Amended

Complaint, at flt[5-6, 28-3     1.


              8.     In the Amended Complaint, Plaintifls allege that Defendants, The Chambersburg

Hospital and Summit Health, are vicariously liable "through theil agents, employees, and

ostensible agents, Defendant Ramidi and any other individual involved             in the care of Mr'

Dellinger as set forth in paragraphs 1-27" of the Amended Complaint. ,!ee Plaintiffs' Amended

Complaint, at '!129.

              g.     In the Amended complaint, Plaintiffs allege that Defendants, The chambersburg

Hospital and summit Health, are "vicariously liable for the negligence aad maipractice of

Defendant Ramidi in failing to appropriately recommend the appropriate antibiotic, treatment

course, and prescribing same resulting in multiple surgical procedures and
                                                                           pain endured by Mr.


Dellinger.', see Plaintiffs' Amended complaint, at fl30;    see a/so   Plaintiffs' Amended complaint'

at !131   .



              10. on August 28, 2017, Defendant        united states of America ("united states")

substituted itself as a Defendant in place of Defendant Ganga Ramidi, M.D. and
                                                                               removed the


action to the Unitett States District Court for the Middle District of Perursylvania.

              11.    On September 1,2017, the United States filed a Motion to Dismiss the Amended

Complaint for lack of subject matter jurisdiction arguing that the Plaintiffs had failed to
                                                                                            exhaust


their administrative remedies as to thek Federal Tort Claims Act (FTCA), 28 U'S'C' $$1346(b),

240 | (b), 267      l -80, claims.

              12.    The Honorable Yvette Kane, District Judge of the United States District Court

Middle District of Pennsylvania granted the United States' Motion to Dismiss for Lack of
                                                                                         the Clerk
Subject Matter Jurisdiction, dismissed the United States without prejudice, and directed
            Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 18 of 89



of Court to remand the         case   to the Court of Common Pleas of Franklin County and Close the

case.


        1   3.   On October 13,          2017   ,   Plaintiffs filed an administrative tort claim under the

Federal Tort claims Act        (FTCA')     on behalf of walter E. Dellinger, Jr. alleging, inter alia, thal

on November 18, 2015, Dr. Ganga Ramidi and Keystone Rural Health Center, located ia

Chambersburg Hospital, Pennsylvania. committed medical malpractice by failing to properly

diagnose and treat Mr. Dellinger's medical condition.              A copy of Plaintiffs' Administrative tort

claim (w/o exhibits) is attached hereto as Exhibit "C".

        14.      Via letter stamped February 22, 2018, the Departrnent of Health and Human

Services provided notice of the final determination denying the administrative claim frled by

walter E. Dellinger,     Jr.   ,see Department        of Health and Human services letter stamped February

22,2018, attached   as   Exhibit "D".

        15.      According to USPS Tracking, the HHS letter was mailed on February 22,2018

and was delivered in Harrisburg, PA on February 27, 2018.                 A true and correct copy of   USPS


Tracker is attached as Exhibit "D."

        16.      Via the letter notice stamped February 22,2018, the Departrnent of Health and

Human Services reported to Plaintiff that "the evidence fails to establish that the alleged injuries

were due to the negligent or wrongful at or omission of a federal employee acting within the

scope of employment." See Departrnent of Health and Human Services letter stamped February

22,,2018.

        17   .   To date, Plaintiffs have failed to file a written request with the Department of

Health and Human services for reconsideration of the final determination denying the claim or

filed suit against the United States in the appropriate federal district court'
            Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 19 of 89



                                                Count   I
           18   .   Defendants, The Chambersburg Hospital and Summit Health, incorporate by

reference the allegations in Plaintiffs' Amended Complaint, although denied, as        if   same were set

forth at length herein.

           19.      Defendants, The Chambersburg Hospital and Summit Health, expressly deny that

Plaintiffs are entitled to the relief requested against the Defendants.

           20.      To the extent that the allegations of negligence against Ganga Ramidi, M'D. set

forth in Plaintiffs' Amended Complaint arc proven at the time of trial, said allegations being

specifically denied, Defendants, The chambersburg Hospital and summit Heaith, hereby plead

claims for indemnification and contribution from the Additional Defendant Ganga Ramidi, M.D'

           21.      As these matten concem the practice of healthcare by licensed professionals, the

demand      of Defendant Ganga Ramidi, M.D. for contribution and/or indemnity constitutes               a


professional liability claim as contemplated under the rules goveming professional liability

actions.

           WHEREFORE, Defendants, The chambersburg Hospital and Summit Health, request

indemnification and/or contribution from the Additional Defendant Ganga Ramidi, M.D. for any

sums that may be recovered by the Plaintiffs in this action'


                                                 RespectfirllY Submitted,

                                                 MARS}IALL, DENNE}IEY, WARNER
                                                 COLEMAN&GOGGIN

                                                                          /)
                                                 BY:                       L
                                                            Kevin E. Osbome, Esquire
                                                            I.D. No.34991
                                                            100 Corporate Center Drive, Suite 201
                                                            CampHill,PA     17011
Date:      ql L) It7                                        Attomey for Defendant
      Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 20 of 89




                                         VERIFICATION

        Kimberly Rzomp,, Vice President and Chief Financial Officer of Summit Health' veriff

that the statements made in the foregoing document are        tue   and conect to the best of my

knowledge, information arid   belief   The undersigned understands that false statements hetein ale

made subject   to the penalties of 18 Pa. C.S. $ 4904 relating to         unswom falsification to

authorities.

                                                      SUMMTT


                                               By:                                .?Z
                                                                                   0
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 21 of 89




                                        VERIFICATION

       Nancy B. Probst, R.N., V.P. for The Chambersburg Hospital, veri$ that the statements

made in the foregoing documeot are true and corect to the best of my knowledge, information

and belief. The undersigned understands that false statements herein are made subject to the

penalties of 18 Pa. C.S. $ 4904 relating to unswom falsification to authorities.

                                                     TIIE C}IAMBERSBURG HOSPITAL


                                              By:
                                                                        RN.,V.P    ,y'aa/n
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 22 of 89




                              CERTIFICATE OF COMPLAINCE

       I certified that this filing complies with the provisions of the Case Records Public Access

poticy of the Unified Judicial System of Pennsylvania that rcqtitr:e filing confidential information

and documents differently than non-confidential information and documents.

                                               Submitted by: Defendants The Chambersburg




                                               Signature:

                                               Name:          E.           Esquire

                                               Attomey No. (if applicable): 3499
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 23 of 89




                                                   CATE OF SERVICE

        The trndersigned hereby certifies that a true and correct copy of the foregoing Joinder

Complaint hasbeen served upon the following known counsel and parties of .""o.a              thi,   ddb
day of September, 2018 via United States First-Class Mail, postage prepaid:

                                          Richard A. Angino, Esquire
                                            Angino Law Firm, P.C.
                                            4503 North Front Street
                                          Harrisburg, PA 17101-1708
                                             Attorney for Plaintiff

                                           Michael Badowski, Esquire
                                                Margolis Edelstein
                                                35 10 Trindle Road
                                              Camp Hill, PA 17011
                                           Attorney for Co'Defendants

                                                 Ganga Ramidi, M.D.
                                             c/o St. Elizabeth PhYsicians
                                         lnfectious Disease Creswiew Hills
                                             651 Centre View Boulevard
                                             Crestview Hills, KY 41017
                          (via certified mail, retum receipt requested and ordinary mail)'


                                                        (_
                                                              Jessie   K. Walsh




 LEGAL/l 1769?300.v   1
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 24 of 89




                                         rr4tr
          EXHlBlr
      Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 25 of 89




,{r"\GINO  l,ll{
             rlRM' P(:,
RICHARD C. A}IOINO
AtbmcrlD*:07140
4i03 Norlh Froot Stn t
Hanivlur6 PA l?l l0-l?08
(717) 238.6791
IAX   (717) 23ll-5610
Email: rca@Boglnolow,carn
A0omc)t for Plsldlqs)

\MA],TER E. DELLINGER, JR AND                            IN TI{E COURT OF COMI\4ON PLEAS
LORI L. DELLINOER                                        FR.&\KLN COUNTY, PA
          PtaintiB
                                                         NO

                                                         CIVIL ACfiON
KARLI RICHARDS, DPM, FACFAS,                             MI'DICAI PRO}'ESSIONAL LTABILMY ASI'ION
CWSP; GANGARAMIDI, MD;
RICHARDS ORTIIOPAEDIC CENTM                              JURY TRIAL DEMANDED
AND SPORTS MEDICINIi, LLCI TIIE
CHAI\,TB ERSBTJRG HOSPMAL,
'J/OUND CENTER and            SUMMI
HEALTH
      Dcfendants




                                                    coMPLAlNT

          Al.lD NOW, come tbe Plaintift, Waltcr E. Dollingcr' Jr and Lari L, Dellinger, by and

through    llcir   attomey, Rioharit C. Angino, Anglno Law Fimq P.C., and           filc thcir Complainl

alleging as follows:

                                                       PARrIES

          L         Plairrfiffs, Walter   F,.   Dellinger, Jr (hereinafler, "Mr. Delliager")and   tori L'

Dcllinger (hereinafter, "Mrs, DelliDget') E'e adult individuals who raside in Fayeteville,

Franklin County, Pomsylvania-

          2,        Defendant,   Kart     Riohards, DPM. FACFAS' CWSP (hotcinafter "Defeudartt

fuchards,'), is curren{y and w8s at all times relovant to tl$s c.omplaint,          a   physician spccializing

in orthopredice and ortho,paedic srugery. Defendatrl Richards is lioeused to prar,tice medicinc ir:
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 26 of 89




the Commonrvsalth of Penosyivania,      nt all times   televant to this Complainq sbe regularly

practiced in Franklio County, Pennsylvaoia, where she operated out ofRtchards Orftopacdic

Ccartcr and Sports Medicine (hercinafter "Ricbards Odhopacdic") aod drc Wound Cctltcr at

Chambersburg Hospital. Cuncntly, Dcfcodant Richards regularly practioes io FrankJia Ccltttlty,

Pennsylvania, where she operates out ofRiohrds Ortlopaedic Center ald Sports Medicine and

the Wound Cgstor ot Chdnbersburg Hospifd.        Plaintift   are asserting pofessional   liability claims

agninst Deferdant Richards.    A Certificste of Merit is attached hereto as 'Erhlblt A'

          3,      Dcfcndant, Ganga 8. Ramidi, MD (hcrcinaftgr "Dcfondaot Ramidf'), was at all

timos rolevaut to this   Coql8int r physigian   sPeciElizing iu intemal madicinc sod inlectious

disease. Defendant Ramidi at the time of the incident was licensed to practice medicine         in the

Con:monweal6 of Pennsylvania, At all limes relevaot to this Complaint, she regularly practiced

in Franktin County, Pennsylvaoia, r:r,here sho practiced at Ttra Chanibcrsburg Hospital

(hcrcinaftcr "Chambcrsburg Hospital"). Currently, l)cfcndant Ramidi has no acdvc liccnse            ir   Oe

Commonwcalth of Pcnnsylvania. Plaintills aro assc.rting professional liability claims agairst

Dcfcndast Ramidi. A Cerlilicale of Merit is attached hereto as "Erhlbit 8."

         4,       Defendant Richards Orrhopaedio Cc,uter and Sports Medicinq LLC is a

proGssion'al company with olEc€s located at 144 S 8th St, Chambershurg,         PA   l'7201 .   h

Ccdificate of Merit is attached hereto as "Exhihlt C.'

          5   ,   Defendant Thc Chambersburg Hospital ir a corporatc institution with mcdical

facilities ard offices locatcd at I 12 Norih Scvc,nth Strcet, Chambcrsbu4, Franklin Couoty,

Pennsylvania. A Certilioate of Merit is atlaohed hercto as "Exbibit D."

          6,      Dolcardant Suroloit Ilealth is a business entity operathg The Chambersburg

Hospita.l aad Wound Center with offlces located at t 12      liorrh Seventh Slreot, Chamhersburg,

Frankl in County, Pennsylvania.


                                                   4
J7J984
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 27 of 89




                                                  X'ACIS

          7.       On   Jily   15,2015, Mr. Dellinger had a surgicaL procedure on his right foot and

aotrde   for severg osteoatbrosis with associatcd deformity and poin, The surgical procedurt was

called a rigbt ankle and subtrtu joint fusion utilirCng an        M    tocking aail. The surge(y was

paformed at Charnbersburg t{ospiul,

          8.       On August 31,2015, Mr. Dellinger presentd to       [lr'   Richards with complaints   of
..rirai::agc" from bis bccl. Dcfendant Riohards diagnosed, '\^rou:d dchiscence to the posterior


ellcaDcal iaoision sito with deop fibrous tissuc and incurvatcd skin",

          9.       Between September,2015 and       edy   Novembet, 2015 tbe dehisccd wouDd waxed

ond woned a bit as documented by Defendant Richads at both Riobards oahopaedic and the

IUound Center,

          lO,      On November 10, 2015,       Mr' Dcllinger Ptts€ntsd to Defendant Riohards Et tho

Worud Cents with, ,,incroased drainage afid poin to thc right hecl", t)ofendant Richards

diagnosed,
                ,.right poslJerior heel wound with poseible in&ction and mmplicatcd postopcralirrc

wound".     A   cultrue rvas obtained and Mr. Dellingcr was startcd on antibiotics of cipro and

Cllrrdarnycin. The culhxe revealed no bacterial growth.

          11,      On November 13, 2015, Mr' Dellinger presentoil to the Wound Centst for

foltowup evaluation and treatsnent, At this evaluotion, dre'the right heel posterior incislon site

remains dehisced, consisting           of   Iibrogranular tissuo and exposed tendo Achilles, The

aforomentioaod area        of   dcbisccnco dtxs probe deep, rcaching tlro uudcrlying osscous and

retained hardware, There is a peri-wormd cellulitis, not ascending. Increased tendcrncss along tho

orec of dehiscenc€ is noted."       Mr. Dellinger was advised to oomple& his antibiotiss ol'Cipro and

Clindamycin,




                                                      \
51!984
        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 28 of 89




          12.       On Novemh*       I8' 2015, Mr, fietlinger was admitted to    Chambersburg      Hoipital

for right heel eellulitis and possible sbscess. In the bistory and physical Defondant Richards
          ,.1
unites,         did conlaot Dr, Ramidi and got her rccommendalions as well, she <lid also resommend

admission for        IV antibiotic   thsrapy and surgical                Mr. Dellinger did undergo       an
                                                            .washout."
operalive procedrue which ilcluded e fighl posterior heal bone biopsy, right heel culture,

hardware tqmoval fmm the posteriof calcaneus, exploration of plontal right hoet and wash out              of

posterior right heel. The operative rcport indicsres the ueed for six (6) weeks of IV antibiotic

thempysecoldary to infootion and possible osteomyelitis,

          13.       On or about November 18, 2015,    Mr' Dellinger wss sec!     by Defendant Ramidi      o
Chambersbmg Hospital post-surgery. Defend$t Rsolidi recommended,                           'tmpiric   broad

spectrum ar:tibiotics .Nith      IV   Vancomycin., . and    IV   Cefeplme,,,for gran: positive c,ovelage

including Me&icillin Resistant Staph Aurcus MRSA) and gram ncgBtivc aovcrsSc inoluding

pseudomonas."

          14.OnNovember20,aOLl,Mr,DellingerwasdisohargediiomChambersburg

Ilospital on IV Vancomyiin via PICC line with antibiotic management by infectious disease snd

follow-up at dro Wound Cmter.

          ]5.       On Decembff 18, 2015,      [V Vancomycirr      was discontinued due      to a rash lvfr'

Dellirrger was subsequentiy placed on oral Doxycycline,

          16.       On lanuary   27,2}rc,   an absocss on Mr. Dcllingcr's     riglt   lateral foot rvas noled

aod itrainagc was culturcd and $ew IvIRSA with the same antibiotic sensitivity profile                    as


previously cultured,

           17.       On February 21,2016, Mr. Dellinger rmderwent a third operation to reurove all

the   rtrnaing hordtvare from his onkle. Tntravenous antibiotic ofTeflaro (Ceftaoline) was started.




                                                      6
s119M
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 29 of 89




          18,      on March 24, 2015, Mr. Dcllingcr was notcd to havc porsistcnt dclaycd hcaling of

the wounds      ofhis right heel and foot'

          lg.      On Jrne 6,2015, Mr. De)linger's "right ankle wounds were one hundred (100)

peroent healed, Tlrere was no evidence              of infection, Radiographio studies eompleted               revealed


valgus defomrity of the right ankle secondaty to loss of Iehral talus height fiom previous bono

infcotion. No cvidcncc of acub iofccdiol on x-ray."

          20.      On July   l4   2015, }1r. Dellinger presented to Chambersbury Ilorpital Emergeooy

with a right leg infeotion. Blood culnres obEined resulted with MRSA. Radiology                                 reports


revealed ohanges of probable osreomyelitis of the dght caloaneus, talus, and lataral malleolus

ankle bones. Introvenous antibiotics               of Teflaro were again    started         md lvfr. Dellinge ms

refened to another facility for evaluation          ud   tleatment,

                                             COUNT I - NEGLIGENCE

                         Waller E. Dellinsen .Ir v' Dr. Karli Richrrds. DPM

          21,      Paragroplts    I   through 20 are incorporated herein   a.s   if   set   forth at length'

          22.      Plairrtiffs' damages were t}e re,sult ofthe negligent, careless, and substandard care

                   provided lo Mr. Dellinger by Defeldaot Richerds, as follows:

                   a)failuretorecogaizethatMr.DetlingcrwasnothgalingFopcrlyatthetime

                           of his follow-up visits which rceulled in multiple surgical procedures;

                   b)      failure lo properly maosge the post'operative ankle infeotion which

                           rosultcd in multiple surgical prooedures;

                   c)      failure to propetly ffanage the irost-oporative ankle infection which

                             resulted   in   increased Pain;


                   d)        lbilurc to prcscribc suffrcimt antibiolic coveragc to tcat Mt' Dcllinga's

                             MRSA infectiot rcsurlting in multiple surgical procalures


                                                            7
513984
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 30 of 89




         WHEREFORE,PlaintiffWalrerE.Dellinger,Jrdemandsjudgmenlinhisfavorand

agai:rst Delendant Joseph Esposito, M,D., ia an amount in oxcoss of     }ifly'ltousand Do[lars

(s50,000,00), exolwive ol'cosrs and in excess of any jurisrj.iotional cIoOunt requiriag compuluory

arbihation,

                                      COTJNT    II - I\IEGLIGENCE

                       Welter E Deltingen Jr v. Gmea B' Remldl' MD

          2s.Paragraphsllhmugh22aroincorporatedboreinasifsetforthatlengtla

          24.   Plaintio's' daErges werE the result ofthe negligeal, careless, and sutstandard cae

providett to lvtr. Dellinger by Defendanr Ramidi, as llollows:

                a)     failrre to recommend sufficient antibiotio coverage to teot Mr'
                                                                                                           I
                       Dellinger's MRSA infection resulting in multiple surgical procedures;               I


                b)     failurs to rccommcnded antibiotis trcstmcnt durolion to emdicde the

                       MRSA io&ction whlch resulted in multiglc surgical proccdurcs;

                c)     failure to propaly manago lhe postoperative ankle infegtion which

                       resulted itr increased Pain;

                                                                                         p1' pqllingcr's
                d)     failurc to prcscribo sufficic'lrt antibiotio ooveragg   16 1641


                        MRSA infoction rosulting in multiplc surgical procedures

                wllEREFoRE,PlsidiffwalterE.Dellinger,Jrrlerrandsjudgmentinhisfa.r'or

and against Defentlard Joseph Esposito,   M,D,, in an amount in excess of Fifty Thousand Dollars

($50,000.00), exclusive of costs and in excess of any jurisdictional amount requiring
                                                                                      oompulsory


arbihetion.

                            COUNT IN -VICARIOUS IIABITJTY

          W.?lterE.Dellinger.Jrv,RlcherdsorthooredicrgndSnortsMedlcl.ne.LLC

          25,Paragraphslthrough24areincorporatedhcreinasifsctfodhatlenglh.

                                                      8
5?r984
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 31 of 89




           26.      Plaintiffs' daoages werc the resrilt of thc ncgligcnt, carcless, and substaldard caro

provided to Mr. Detlinger by Defendant Richards Orthopaedics through their agents, employces,

ond ostensible agenls, Defendanl Richards and any other individual involved in the carc of Mr,

Dcllingcr as set fordr in patagraphs l-24 above'

           27.      Dc&ndart Riohards O(hopaedics is vicariously liable for the negligence and

malpracrice of Delbnrlalt Rishards in failing to rooognizc thc delay in healing, treat tbe infection

with proper antibiotic coverage, [eat for an appropria{e time period to avoid multiple surgioal

procodures and pan endurcd by Mr. Dellinger.

           28.      Defendant Richards orthopaedics employees coftluct            \[ts   outrageous entitling


Plaintllf to punitivo darnagcs,

                    WHEREFORE, Plaiotiff Waltcr       ti'   Dcltingor,   Jr   demands judgmenr in his favor


snd against DsfeDdant Nchards Or&opaedios and Sports Mediciac, LLC, in an amount in cxccss

ofFifty    Thousand Dollars ($50,000.00), exclusive ofc.osts and in exccss of any jurisdictional

amount requiring compulsory         arbiraion.

                                 COUNT TV- VICAftIOUS LIABILTTY

    waltrr E. Dellinger.       Jr. v, The   Chrmborsburs Hoseital wound center. snd summil

                                                   Ilealtlt

          29,       ParagraPhs   I through 28 are incoqroratcd hcrcin as i[set forth           at longth'

          30.       piaintiffs' damages were the result ofthe negligent, caxeloss, aod substandard oaro

provided to Mr. Dellingrr by Defendam Chambersburg Hospital, Wound Centcr. and                             Sumdt

Hcalth through their agents, employees, and ostelsible agents, Defendant Ranridi                    al1d   fity stfter

individual involved in ths oarc ofMr. Dcllingcr as sct forth in paragraplts 1'28 above,

           3   1.   Detbndant Cbambersbug Hospital, Wound Ccntcr, and Summit Hcalth is'

vicariously tiable for ttre negligence and raalpraotice of Del'erdant Ramidi              it   laiting to


                                                       9
573984
      Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 32 of 89




appropriately recommend the appropriate antibiotic,         fi eatment   couse and pressribing saine

resulting in multiplc surgicat procerlures and pain endured by Mr'
                                                                   Dellirger'

                                                                          Health is
           12.   Defendant Chambersburg Hospital' Wouod Centcr and Summit

                                                             infeotion oontrol practices in cadng
vioariously liable for failing to maintain minimurn strndard

                                                               Center including h1'pabaric
for Mr, Dellinger throughout his treatment course at the Wound

therapy.

          33.DefendantCharnbenburg}Iospital,woundCcntclandS\unmitHealthemployees

cotrduct was outngeous ontitling       Plairtilf to punitive danagos'

                 wImREFoRE'PlaiDtiffWaltsrE,Dettinger,Jrdomandsjudgurentinhisfavor
                                                           and Summit                 llcaltb in an amount
and against Defenda::t Chambersbu(g Hospital, Wound Center

inexcessofFlftyThousandDollarc($50,000'00)'exclusiveofcostsandinexcessofany

jurisdictional arnount rcquiring compulsory arbitration'

                                          CLAIMT-DAIVAGES
                                                                                              ?
                     zu
                                             l'

                                   through 13 are iocorporatcd hercin as ifsct fortb
                                                                                        d   length'
           14.    Paragraphs   I
                                                                        abovg Mr' Delllnger was
           35.    As a result of the DcfeDdants' negligeirce es alleged

                                             witl continuo to inour medical     expenses in an    anount
forced to inoru medical expenses, and

u,rknolvnatthistime,forsurgicaltreatolen!medicaltr€atment'medications'andoticrsimilar
                                                     and clairns are made therefor'
o<penses in ur attempt to restore himself to health'

                                                                   Pan A' Notification has bcen
           36'    Plaintitr, Mr. Detlinger was covered by Medicare
                                                        at this limc; horreever' claims srp
 providcd to Medioara Ths subrogation amount is urtnown

 made lherofor.




                                                       r0
 ,71981
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 33 of 89




                                                                                   It/r' Dellinger
           37   .       As 4 result ofthE Dofendants' negligence as alJeged above'

experi€trcedpain,suffering,humiliation,disfigiremenglossoflife'spleasuresandenjoyment'

limitation, and montal angi.rish, and claims arc nrade lherefor'
                                                                                           sot forth herch'
           38,          Delbndants arc liable to walter E, Delliagcr, Jr' for thc daoragcs

                                 Plaittifl   Watter E' Dellingcr, Jt' demmds    judp:ent in trls lavoland
           WHERBFORE,

                                     smoufi in excess of Fifty Thousaad Dollars ($50,000'00), exclusive
                                                                                                        of
against Defendanrs iD          a11



interest and cos6, and in excess of any
                                        jurisdictionat amount requiring compulsory arbitation'

                                       CLAIMII ' LOSSOF coNsoR.TIUM

                    D
                                                                   A                              I

                                                                           ifsct fofih at length'
           39.          Paraglapls I ttnough 38 aro incorporated herein as
                                                                              Plaintill t'ori L' Dclliogcr has
           40'          As a rosult of tha iojuries sustained by hcr husband'

                                                            serviccs' and oompanibuship of her
sutlked a loss ofr the cgrt, oustody; society, ootlsortiun'
                                                                                      and claims are matle
husbanat, Walter E.           Delliugo, Jr., all of whlch losrcs ats to her douiment'

 therefor.
                                                                                                     agahst
            WHFREFORE, Plaintiff              Iori L'   Dellinger demands judgrnent in her fovor ond

 DefendantsinanaE,ouotino(c€ssofFifiyThousmdDollars($5o000),cxclrxiveofirrtercstand

 costs, aod in cxocss         ofany Jurisdictional amo'tnt requiring cotnpulsory arbilration'

                                                                   RnsPcctfullY subnitted'

                                                                       ANGINO LAWNIRM, P'C.




 Daler Apri! 10,2017                                    by
                                                                        chard           Esquire
                                                                       I.D.N    140



                                                              l1
  57t984
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 34 of 89




                                            4503   N. Fro,lt Streot
                                            llarrisb urg, PA 1?110
                                            (717)238-6791
                                            CounseI for Plaintiff




                                       1'
t13rt4
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 35 of 89




                                                VERI['TCATION

          I,   Walter   F.,   Detlinger, Plaintiff, have rc8d the foregoing ComplaiBt aod do hereby swear

or af6rm that the fasts set fortb in       tle foregoing   aro truc and corrcct to thc bcst of my knowiedge'


information and belicf I uadersand             tat   this Vorilication is made subjoct to the penalties   of   I8



Pa,C.S.A. Sectioo 4904, rclating to unswom falsification to althorities'




Witness                                                Walter E.           ,   Jr'

Date:    April   12, 2017                              Datc: April 12,2017




                                                           13
,739t4
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 36 of 89




                                             VERIFICATION
                                                                                 aud do hereby swear or
           l, Lori   L. Dellinger, Plairtl.lll have resd tho toregoing Complaint

                                                               correct to the best of nry knowledge,
afflrm that the facls set forth hr the foregolng are truc alld
                                                             is made subject to the peualties oflS
information and tplief. I understond thot t.his verification

Pa.C.S.A, Secdon,{904, relatiog to unsworn falsificstloD
                                                                h   autboritics'




Wihess                                                  L.

Dare:   Apil    12,2017                            Date:   April 12,2017




                                                        l4
  ,7393{
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 37 of 89




ANGINO LA1V FIRM, P.C.
RICHARD C. A}IGL\O
ADmo),IDfl : 07110
4503 North Frol,t slrcc{
           Prl t7l t0'1708
Ilarrlsburg,
11t7),384'111
FAX flrA 88,5610
E.mail: rca@an8.iro)61v (JlE|
Attomcys rbr Plaiotl6ls)

WAITDR E. DELLINGE& JR AI'iD                    IN THE COURT OF COIyfMON PLEAS
LORI L, DELLNCER                                FRANKT,INCOUNTY, PA
      Plaintiffs
                                                NO.

                                                CryILACTION
KARLI RICHARDS, DPM, FACFAS,                    MEDICAL }ROFESSIONAL            LIABILIfi    ACTION
CWSP; On NCA IIAMIDI, MD;
RIC}IARDS ORTHOPAEDIC CENTIIR                    JURY'I}IAL DEMAND}iI)
AND SPORTS MEDICINE, LI,C; THE
CTIAMBERSBURo HOSPMAL,
WOLJND CEII-IER and SUMMIT
HDALTTI
           Dcfc$ants

                   Ccrtifrcatc of lVlerit as to Karli Richards, DPI}L tr'ACFAS' CWSP

l, Richard C. Angino, oortift tbat:
                                                                statcmcDt lo &e ryd.:PPF Bt
[X) au appropriote liccnssd profossional has supplicd a writtaD
if]J* lr'o basis to  conolude that the care,  skili or knowledge  exercised or exhibited by this
dofsndart in thc fitahnctrt, practice or work that is the subjeot ol the complaral'
                                                                                      fell outsidc
           pi"iosional .standards and that srrch conduct vras a couse in bringing about the hatm;
"."rpr"Oi"
AND/OR

(  ) the claim that this dofendmt deviated fiom arr Bcceplable professional sandard is basod
iotity o" allegalions tlat olhcr liccnscd profcssiorrals for whom tlris defendant is responsiblo
a""ii     r.o,i' accePtable professional stardard and an approp'riate licensed.professional       has
       "a
sr.molied a xryi$en stat;en1 to the undersiped that there is a bi.sis to concludc that thc oare, skill
oi,'6'o*trag" r*.rcised or exhibiled by thJ other licensed professionols in lhe reatrnent, prac'tice
or work ttra:t is the subjoot o1' rhe couplaiDl fell oukitle Ecceptable professional standards and
that such conduct was a cause in bringing abour lhe barm; OR

(                                                         onal                 lor prosecution of tho
  ) expert testimouy of an appropriate licc'oscrl
claim against this deftndnnt.

Datc: April 12, 2017
                                                                 C, Angino, Esquire




5',13984
          Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 38 of 89




ANGIT(O LAIY T'IITMI P'C'
RICHAIII) C. ANOINO
Aronrcy IDc i 07140
{503   Nonl Front Slrlc(
Hsrhbu& PA I7l I0-1708
(717):38-6?9:
l,Ax (717) 23&i610
E.Erail; re@ugloolerY.corD
M omcyt fo. Pl8lollqs)

WAITER E. DEI,LINGF,R, JRAND                       INTTIE COiJSTOE COMMON PLEAS
LORI L. DELLINGBR                                  FRANKLIN COUN'[Y, PA
           Plaintitrs
                                                    NO.

                                                    CIVIL ACTION
K RLI RICIIARDS, DPM, FACIAS,                       MEDICAL PROFESSIONAL LIABILITY ACTION
CWSP; GANGA                IiAMIDI, MD;,
RiCHARDS ORTHOPAEDIC CENTF,R                        ruRYTRTALDEMANDED
AND SPOR,I.S:VEDICINE, LLCI THE
CHA},IBERSBURG HOSPITAL,
WOIJND CEiITER and SUIvIMIT
H}iALTI]
           Dofendarn

                                Ccr{lficatc of Mcrll as to Gange B' Ramld!' MD

!   Richard C. Angino, certi$ that:

(X) an tppropriate licensed profcsstonal has supplied a lrydttenstaterlctrt to thc undcrsigned
                                                                                               tha
iit.i,," iui basis to concludo tJ *," ,ure, skiit or know,ledge   exeroised    or cxhibited by this
defendantinthcEcatlxctr!p.u"ti""o'workthatisthcsubjcctofthemmplair:t,fo[Ioutsido
**pttUf" p.i.ttioout ttuoaatd" ard tho such conduct was a cause ln bringlng about the harm;
AND/OR

( ) the r:laim 0ret this dofendant devialed from an accepuble professional stsJldald is based
Iflfy'"i Ji.gitf"". ttrnt ntl"r liccnscd profcssionals foi whom this dcfctdant is responsible
dwlited AomL       acceprable profcssional standardaad an appropriate ticensed professional has
                                                                basis lo conoludc thet lhe sare, skill
supplicd a wdttcn stalcrnetrt to tho undersigned lhat thcrcjs a
;H;;dd;;;;rised          or exhibitod by thi othcr.licensed  professionals in thc ueabrsn! practicc
                                                                                       standards a'ld
   *"rt-if,it i. rle ntbject of Ge complaint, ftll outside ar:ceptable   pmfessional
",
tbct sucb conduct was a cause in brlnging about tbo harrn; OR
                                                                                   prosecutioo oflhe
( ) export testimony ofan appropriato liccnsed
                                               pro fessional is
claio against this defendant.

Dater April 12,2017
                                                                     Angino, Esquire
                                                 EXHIBITB


                                                      l6
Jt3984
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 39 of 89




ANGINO LAW IIRM. P.C,
RICFIARD C. ANGINO
Altomey ID, : 0rl{O
4503 Norlh Fronl Sltvrt
Ilrllisburg' PA l7t ltrl?08
otrr23v61et
FAX  rla   218.5610
E.nail: rr@laglrlolcw,com
Attorn€ys for PldntiflIs)

WALTER B. DELLINCER, JR AND                       I}i THE COURT OF    CO}VII\4ON PLT,AS
LORI I,, DEI,LINGF,R                              FRANKI,IN COUNTY, PA
       Plaiotills
                                                  NO.

                                                  CIVILACI'ION
KARLI RICHARDS, DPM, FACFAS,                      MEDICAT, PROFESSIONAL LIABILITY ACTTON
CWSP; GANGARAMIDI,MD;
RICHARDS ORTHOPAEDIC CEN'I'ER                     ,URYTRIALDEMANDCD
AT.ID SPORIS MEDICINE LLC; TTIE
CIIAMBERSBURG HOSI'ITAL,
WOLIND CENTF,R and SUMMIT
HBALTII
       Defendafis

      certilicste of Merit    as to   Richards orthopaedic center tad sportu Msdicirt'     LLc

I, Richard C. Angioo' ccdfY tbatl

( ) an aopropriate licorscd professional has stpplied a written slatexrient to the undersigned that
iti"r.'ir"u firir to concluie that the care, sfiil or knowledge exercised or exhibitod by thrs
defeudant iu the htakncnt, practice or work that is the subject of the complainl fell
                                                                                             outside
oo""ptuU" p.f"rsioral stAldardS and that such conduct was a causc      in brirghg   about ftP haro;
Al.iD/OR

(X) the claim     Srat this defendant deviated from an acc€phble professional -standald is based
;i"ry     ;"
           ullegatioas rtrat other licensed professionals for whom this defeodant is responsible
a.ut.a ftomL accoptablc professiooal itandard and an appropriatc ticensed,prolb'ssional has
rrppfiua .     *it*  statement ti the undetugned thd there is a basis to conctude that the care, skill
                                                                                              practicc
oi'knowledgc cxqrciscd or exhibited by thi other liccnsed professiooals in the treatment,
or *"*   tf,":t is lhe subject of tfio complain! fcll outside acceptabtc profcssiooal  stal1dflIds and
that suc} conduct was a cause in brirging about the    harm;  OR

( ) expelt testimony ofan      appropfiate licensed professional is unnecess{rfsr'-prosccution of the
claim agaiusl *ris        defentlant.                                    ,/'
Date: Apri.l 12,2017
                                                                               bsquire

                                               EXHIBIT C

                                                    t7
J739pt
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 40 of 89




ANGINO I,AIV FJNM, NC.
RICIIARD C. A:.IGINO
Ahorort lDi, : 07140
4503 }.lordr Front Str€lr
Harisburg, PA l7l lG1708
Q t't) 23&6791
I'AX (7lA BE-5610
&rnrll : rc{@anB,inolsw.com
Attomo)B for Plohlfi{s)

WALTER E. DELLINGETq JR AI.ID                        IN TI{E COURT OF COMMON PLEAS
LORIL, DELLINGER                                     }'RANKLIN COTJNTY, PA
          Plainti{Is
                                                     NO,

                                                     CTVILACTION
KARLI RICHARDS, DPM, I'ACFAS,                        MEDICAL P&OFESSIONAL LIABILTTY ACTION
CWSP; GANGA R.Z\MIDI, MD;
RICITARDS ORTI{OPABDIC CENTER                        JTIRY TRIALDEMANDED
AND SPORTS MF,DICINE, LLC; TIIE
CH^MBERSBURG IIOSPITAL,
WOUND CIiNTER and SUMMI'I
HEALTII
          Dclbndants

certifiqrte      0f   Mcrit   ss to The   chsmbenburg Hospital, \'Yound Ceoter and Summlt fltalth

I, Riohard C. Angino, ccrti& lha!:

( ) an appropriato Iicensed professional has supplied a witten statement to the undersigned that
            i
tir"* iJ basis to conclude that thc oaro, skill or knowledgo exeloisod or exhibilod by this
defendant in the teatrnent, practice or wbrk that is the subject of the complaing ftll outside
acccptabls prcfessional standards and that such conduct wss a cuuse in bringing aboul the barm;
AND/OR

(X) the olairn that this defendant deviated from ar accoplable profcssional standard is bascd
sololy on ellegatioos that othsr lic+nsed professionals for whom this defendant is. respornible
deviited from an acceptable professional stsndard and an approEiale lioensed prol'essional bas
sr4plied a lvritten stat€meflt to the udersigned that there is a basis !o conclude thot the cate, skill
or-knowledge sxerciscd or exhibitod by the other licensed protbssionals in the teatnEclt, praotice
or work that is tbe subject of the complaint, fell outside acceptable professional stardards and
lhat suoh condnct was a cause in bring'ng aborn rho harm; OR

( ) expert tqstimony of an appropriate licorsed professional is unnecesslrl foq proseoudon of the
claim agairct this dcfc dstrt,

Date:    Apil    12,2017
                                                                        gino, tisquirc
                                                  EXHIBITI)

                                                       l8
si3984
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 41 of 89




                                          rrSrr
          EXHlBlr
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 42 of 89




         I.AW FIRM. P,C.
^NGINO
RICiIARD C. ANGINO
Attomcy ID4 | 0?t40
1503 North Front SEcc-l
t   tartsburg PA l7llGl708
(7t7)23   191
FAX (717) Zr&5610
E.rdt: rc!@mElnolow.coD
AEomc),s for llsinlif(s)

WALTERE. D},LLINGER, JR AND                     IN'l'HE COUR'I'OH COMMON PLEAS
I.ORI I,. DELLINGFR                             FRANKLIN COUNW,PA
        PIaiufills
                                                NO.

                                                CWILACTION
KARI,I RICHARDS, DPM, FNCFAS'                   MBDICAI PROFESSIONAL LTABILITY ACTION
CWSP; GANGARAMIDI,MD:
RICT{ARD S ORTT{OPANDIC CEI\iTER                JURYTRIAL DBMANDED
    AND SPORTS MEDICINE, LI,C; TFIE
    CHAMBERSBURC HOSPITAL,
    I/OLJND CENTER and SUMMiT
    IIEALTII
            Defendants



                                                                         the claims set forth in the
           You have becn sued in court' .If you wsh tq dqford aPeinst
                                                                         this Comptaint ancl Notlce
    foliowing pagesr you rDust at"-"ririoo *iif,h nYeuty Gol days"altter       filhg in wdtirg.with
    ;"-;;;;&:;i#.rine t ffiiff"nappeu;; p""onuttv'itv-Etom?v  and

    ;; a;;l;;';;r*.L o, ouj."dli'; th;fu;t sciforth agairst voi' -Y-:l 1,"-Yf:i.,Y'tt
    voufailtodosot}rccascmayprocc.cdwilhoutyouandjudgmcntmavbocntcrcdagalngtyouby
    i,"J6"""r.",,iio"-i'i,"h;;i#;;;;1,;-;;;i;;*;a  inirre comftai'rt or fot any.other craim
    ;;;il;;;;;A          pui"rin.
                          ui u.        You mav lose monev or Propertv or other righls
                                                                                      important to

    you.

    YOU SHOL'LD TAKE THIS PAP!:R TO YOUR LAWY}iR A'I'ONCI;'
                                                            B YOU DO NqT
                                                        FORTH BELOW. THIS
    rriic.E-I,AWVgN, GO TO 6N-TELTPHONE TI{E OFFICE SET
                                                           A LAwYER
    ilrrice celr lnoVrDE You wlrH INFoRMATIoN ABour HIRING
                                                            MAY BE AB,!E TO
    ]F YOU CANNOT AFFORD TO I'IIRE A LAWYE& TIIIS OFFICEMAY OFFER LEGAL
    PROVIDE YOU WTTH NTORMA TOT ABOUT AGENCIES
                                                     llIAT
                                                   oR  No EEE'
    ii-iivrcns io auGIBLE PERsoNs Ar A REDUcED FEE
                             PEIiNSCI,VANIA I"{WYERREFERRAL SERVICE
                                  PEI\NSYLVAI{IA BAR ASSOCIATION
                                          ,()O SOUIE STREET
                                               P'O' Box 186
                                         Ilantuburg" PA 17108
                                              8001692t375
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 43 of 89




                                            AVISO

        USTED HA SIDO DEMANDADOIA EN CORTE. Si UStCd dCSCA dEfENdETSE dE IAS
dernandas que se petsentan m{s adclantc cn las siguiclxtgs p'lgrnas, debe toaar a$i6n dentro de
los pr6ximos veinte (eO1 dlas despuCs de la notificoci6n de esto Denunda y Aviso radioando
pcp;ndmonto o po! Edio de un ibogado uoa compruc,oencia esctita y radicando an la Corte por
escrito sus defenias de, y objecciones a, las demandas prescntadas squi en contra. suya- Se le
                                                                                           puedc
adviert! dc que si usted- falli de tg13ar acci6n oomo se dessribe anteriormoflte, el caso
p.or.rf"r sio irrted y un fallo por oualquicr suma de dinero reclamada en la dcrnands o cualquier
iuo re"tumnciOn o iemedio solicitado por el demandanto puede ser dictado en contra suya por la
Corte sin mds aviso a<lisionul' Used puede perder dinero o propiedad u ottos derechos
importantes paro used'

    USTED DEBD ILEVAR ESTE DOCUMENTO A SU ABOG^NO
TNMEDIATAMENITE. SI IJSF,D NO TIENE t N ABOGADO, LLAME O VAYA 4, !A
SIAUENTS OFICINA, ESTA OIICINAPUEDE PROVEERLE INTORMACION A CERCA
DF,   COMO CONSEGUIR TIN ABOGADO.

        SI USED NO PUEDE PAGAR POR LOS SERVICIOS DE UN ABOGADO,                               ES
P0SIBLEQI]EFSTAoItcINALEPUEDAPRoVFERINFoRMACI0NSoBIG
AGENCIASQUliol'R}izcANSERvIcIosLEGALESSINCARGOoBAJoCoSToA
PEfuSONAS QT]E CUAI,IFICAN.


                         PENNSYLYANIA LAWTER R},I}'T:RITAI. SERVICE
                             PE}INSYI,VANIA BAR ASSOCIATION
                                     IO()SOUTIISTREET
                                          P.(). Bo: 1fl6
                                      Harrbbur?' PA l71l)8
                                          N0l6vL-7315




                                             2
       Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 44 of 89




ANGINO LAW Pl8t}', P.C.
RJCHARD C- A}IOINO
Attomcy IDd ; 0?t40
4501 Norrh Flont Stsrct
H6rdsbu& l'A t7l t0-170E
olTt2r9479l
iax (rtD zls-:oto
E'mrili rcs@an8inohw.com
Attornop for Plainliff(t)

WALTEI(Ti. DELLINGB& JR AND                         IN THE COUK_I.OT COMMON PLEAS
LORIL, DEI,LINGF,R                                  }..R NKLiN COTJNTY,PA
          Pl&htifG
                                                    NO.

                                                    CIVILACTION
                                                    T,MPICE.I, PNOTESSIONAL LIABILITY
                                                                                      ACTION
KARLT RICHARDS, DPlvt FACFAS'
CWSP; GANGARAMIDI' MD;
RICI IARDS ORI HOPAEDIC CENTER                      ruRY'T'RIAL DEMANDED
 AND SPORTS MF,DICINE, LLCI THE
 CHAIVIBERSBURO I IOSPITAI,
 WOUND CENTER and SUMMI'|
 HEAIfiI
           Dcfcrdants




                                       AMENDED COMPI,AINT

           z\NDNOW,comothePldntiffs,waltcrE.Dellinger,JranrlLoriL'Dellinger'byand

 through their attorney, Ricbard C, Aagino, Angino
                                                   Law Firrn' P'C" and file their Complaint

 alleghg     as follolvs:

                                                   PARTIES

                                           E   Dellingcr, Jr ftereinafter' "Mr' Dellinger") and Lori
                                                                                                     L'
            1.        Plaintiffs, Walter

  Deltinger(hereinafter,..Mfs'D€lling.',)arcadultindividualswhomsldeinl.ayottcvillc,

  lranklin Cou[tY, PennsYlvania.
                                                                       (hercinalter "Defendaut
            2.        Dsfctrdail, Karll Richards, DPM' ["ACFAS' C\tfSP
                                                             this Compla'rnt' a physlcian specializing
  Richards'), is ourrootly atrd was at all times relevant to

  hor.tlropaedicsandorthopaedicsurgery.DefendanlRichar4slslicensedroptacticolnediciEein
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 45 of 89




theCommonwealthofPennrylvania.AralltimesrelovanttothisComplaint'sheregularly
                                                                out of Riohards (ffiropaedic
practiced in ltauklin Cowrty, Penosylvania, rvhere she operaled
                                                                   end the Wound Centor             at
Cer   er and Sports Metliclne (hereinafter "Richards Orthopaedtc")
                                                     rcgularly praoticos in ltrauklio County'
Chambersburg Hospital. Currcntly, Dofsndaol Riohards

                                                Orthopaedic Center        ud   Sports   Malicine   and
Pennsylvania where she operatos out of Richards

theWoundCenteratChambersburgHospitat.Plaintiftsereassettingprofe.ssionalliabilityclainrs
                                                  is attsched hersto as   "Exhlblt A.''
ogainst Defendert Richards. A Certificate of Medt
                                                                                           wEs at all
           3.    Dofondant, Ganga   B' R&midi, MD (hcroinaftcr 'Dsfondant Ramidi")'

                                             spcciatizing in inlernal medicine and iofcctious
times relevant to &is Couplaint, a physician

disease.DefendaotRamidiatthetimeoftheinoidentu'aslicensedtoprdcticomedicinoiDthe
                                                                                      practiced
                                           relel'ant to this Complaint' she rogularly
Commonwealth oriPennsylvaoia' At all times

                 County, Pennsytvaniq wherc she praotiood
                                                          at 'Ihe Chamberstrurg Hospital
 in Fianktin
 (horcinaftet..ChambergburgHospiral'')'Currgntly,Defend0ntRsr,idihagnoactivclicenseinthe

 CornmolwealthofPennsylvania.Plaiutillisalt8ssErti'Eprofessiorralliabilitycluimsagairrst
                                          is atuched hcreto as "Erhiblt B.''
 Defendant Ramidi. A Certi-ficale of Medt

           4.     Defendant Richards Orttropaedic Center     s'ld Spocts Medioine' LLC is                a


                                              144 S 8rh       ft'   Chanrbc$bug' PA t7201' A
 profecsional company with officcs located at

 Certificate of Metit is sttached hereto as 'Erbiblt
                                                     C'"
                                                           corporate insitution with metical
            5.    Ddcodant 'the Chambcrsburg Hospital is a
                                            Seventh Sbeot' Chambirsbwg' Fmrklin
                                                                                Comty'
 facilitics and ofEccs locatcd at 112 North
                                                  hereto as "Exhlbit   D'"
 PenDsylvania. A Certificate of Merit is attached

            6,    Defendant Suffmit Hes'lth   is a businsss entily operating The         Chambersbury


  HospitalandWoundCenterwitboffioestooat€datll2NorthSeventhstreet'Chambersburg'

  lranktin CountY, Pennsl'lvania'

                                               4
  5E2631
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 46 of 89




                                                    FACTS

             7.    On July 15, 2015, Mr. Deltinger had        r   sutgical prccedure on his right lbol and

ankle    for   severe osteo8rthrosis    with associatcd deformity and parn' The surgical procedure was

called a right ankle and subtBlar          joht fusioa utiliziug an IM locking nail' 'Ihe surgery     was


performed al Chaoborsburg Hospital'
                                                                   Dr' Richanls with complainls         of
             8.     On August 31, 2015, Mr' Dellinger presented to

(drainage.,fromhisheal.DofendantRichardsdiagnosed',.wounddehisconc,totheposterior

                                                     iocurvated         skh"'
calcsneal incision site wirh deep fibrous tissue and
                                                                2015 the dehisced wound w&\ed
             9.     Belween S€ptember, 2015 aod early November'

                                                  at bolh Richalds orthopaedic and the
and wmed a bit as docunortcd by Dofcodant Richrds

Wound Center.
                                                                   to Defondart Richards at lhc
             10.    On Novcmbcr I0, 2015, NIr' Deltiager preseoted
                                           pain to the dght hecl"' Defendant Ricbards
Wound Center with, "increased drainage and

diagnosed,.,rightposteriorheelwoundwithpossibleinfectionandcomplicctedpostopcratiYe

wouod".Acu.lturcrrasobraruodandMr'DollingorwasslartedonantibioticsofCiproand
                                                 growth'
 Clintlurnycin Thu culturc rcvoaled no baotcrial

                     On Nowmber 13, 2015, Mr' Dellingcr Prcsentcd
                                                                  to the Wound Ccnter for
             11.
                                                         ihe "the right heel posterior incision site
 followup eryaluation and trestment. At this evaluation,
                                                fibrogranular tissue and cxposcd tendtl Achilles'
                                                                                                  The
 remains dehisced, consisting              of
                                    dehiscence does probc deep' reaching the
                                                                             underlying osseous and
 aforelnentioned area        of
                         ,l'rrcrc                                                        tendemess along the
 rctaincd hardwarc.                 is a pori-wound ocuulitis, nor asccndi.ug. Infieased

                                                                                             of Cipro and
 arca of dehiucea<n is ooto<I."         Mr. Dcllingu was advised to comPlctc his antibiotics

 ClindanrYcin'




                                                       5
 5E263   t
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 47 of 89




           12,      On Novenrber 18, 2015, Mr. Dellingel was admitted to Chambersburg Hospital

for right heet cellulitis ond possible abscess, tn tbe hislory and physical Dcfendani Richuds

unites, ,,1 did oontact Dr, Ramidi and got her recommendations as well, she did also rcoommend

admission for       IV   antibiotic thcrapy and surgical washout."   Mr' Dellingcr did wrdergo    arr


op€rative proc€dur€ whioh inoluded a ri8ht Postedor heal bone biopsy, rigl.tt heel culture,

hard*arc rcmoval fiom the po.rterlor calcaneus, exploration ofplanhr rlght heet and washout of

posterior right heel, Tte operative report indicates thc nccd for six (6) wccks of    lv   antibiotic


therapy secondary to inleorion and possible osteomyelitis'

           13,      On or about November 18,2015, Mr, Delliager was seen by Deferrdant Ramidi      d

Chambersburg Hospital post'surgery. Defendant Ranlidi recommended' "empiric
                                                                            broad


s?ecuum antiblotics        *{th TV Vancomycin...and IV Cefcpime"'for gtam positivc covclagc
                                                                            coverage including
inoluding Ivtcthioillin Rcsistant Staph Aureus tfr4nS"\l and gram tregative

pseudomonas,"

           14'ooNovcmber20,2015,Mr.DeltingerurasdischargedfromChambersburg

Ilospita.l on IV Vancomycin via PIcc tine      wifi antibiotic management by infectious   disease 8trd


follo$'-up at the t['or!nd Center'

     ,]5.Onf)ecemberl8,2015'IVVarrcomycinwasdiscontinucdduc!oarash.Mr'

Dcllinger was subsequcntly placcd on oral Dorycycline'

           ]6.onJanuary27,2016,atrabsccssonMr.Delliuger'srightlateralfootwasnoied

anddrainagewasoulturedandgcwMRSAwiththesameantibioticsensitivityprofileas
previowly culhred.

           17   ,   on February 21, 2016, Mr. Dellingo    underwent a tlrird operation to romovc all

                                                                 'lcflaro (Ccftaolinc) uas
the remaining hatdware ftom his anlle, htfavcttous 8ltibiotio of

startcd.


5tz63l                                           6
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 48 of 89




          18'onMarch24,2016,Mr'Dellingerwasnotedtoh4vepersisterrtdelayedhealingof

the wormds    ofhis right heel and foot'

          19.onJrrne6,2016,MI.Dellinget's.,rig!tanlrlgwouodswereonehrrrrdrerl(100)

pcrccnthealcd.ThercwasDoovidgncoofMcotiq!.}tadiograp}rrcs[rdioscomplctcdrovea]ed

valgus<Iclbrrrityolthcrightar}loseconrlrytolosso[Iatorallalusheightliumpreviousbone

infection No evidenso of acute iDfection on x-ray'"

           20'OnJuly14,2016,Mr'DellingerpresentedtoChambersburgHospitalBmergency
                                                              with MRSA' Radiology rcports
rvith a right leg infoction. Blood oultures oblaioed resulted

rcvealedchalgcsofpmbabloosteomyclitisoflhorightcalcaneus'taius'andlatcralmalleolus
                                                             slarted and Mt' Dellioger             was
ankle     bones, IqEuveuous uotibiotics of Telluo wero again

refened to auother facility for evaluation and treatmeqt'

                                     COI'NT I . N}:GI,TCENCIi



           2l,Paragraphgltbrougb20areingorpoiltedhgrgiIlasit.setlbrtbatlenglh.

           22.Ila.utiffu,daruagcswerethcrcsrrltofthenegligcnt,carclcss'andsubotandardoare
                                                                    as follows:
                  provided to lvlr' Dellinger by DofendaDt Richsds'

                                                                             healing popaly at the tlme
                  a)      failure to rccogoize tlat l\i1r' Dellinger was not
                                                                                     procedures;
                          ofhis fo[low-up visits whlch tesulted in multiple strgical
                                                                               infeclion which
                  b)      failure to properly man:age the post-operative anklo

                          rcsulted in multiple surgical procedures;

                                                                               inlirction lvhich
                  o)      failure to properly rtanage the post-operative ankle

                          resulted in increased Pain;

                                                                                teat Mr' Dellinger's
                  d)      &rlure to prescribe sufficlent anrlbiotic ooverage to
                                                                        procedures
                          MRSA infection resutting iu muttiple surgical


                                                 7
 J8261I
          Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 49 of 89




          WrLERIIrORE, Plaintiff Walter E. Dellinger,            Jr    demands judgment       in his favor and

                                                   in ar amouut in      sxccss   of ttity   'I'housand Dollare
against Dofondant Karti. Richards, M.D.,

($50,000.00), exclusive ofcosts and in excess of any jurisdictional amouot requiring compulsory

arbinrtion.

                                            COUNT IT. NEGLTG}:NCI:

                           Walter        D ellinser. Jr v G enss B.              MI)

           .
          23       Faragraphs   t   through 22 are inourporated herein as iI set lbrth al lenglh'

          24.      Plaintiffs' danrages were the resull of tlre negligent, caleless, 8nd substrrdard care

prouded to Mr. Dellinger by Defendant Ramidi, trs folloqs:

                   a)     failurp to rccommend sulficient autsbiotic coverage to teat Mr'

               '          Dcllingcr's MRSA infcction rosultiag in rnultiplc srrgical proccdurcs;

                   b)failuretorccommordedartibiotictreatmentduationtoeradicatcthe

                           MRSA iafeotion which resulted in multiple surgical pmsedur€s;

                   c)      faiture to properly manage the post-opetative ankle infection which

                           resulted in i:rcleased Pain;

                   d)      failue to preccribc suflioicnt autibiotic covcregc      to trcat   Mr' Dcllinger's

                           MRSA infcolion rcsulling in nultiple surgical PrcQedurcs

          WIIERETORE' Plaintiff walter E' Detlinger'              Jr   denrards judgmeut       in his favot
                                                                                                              'nd
against Defendant Ganga B. Ramidi,            M.D, in an amormt in       excess of   Fifty Thousond Dollars

($50,000.00), exclusive of costs and in exccss of any jurisdiotional amorrnt tequiring oompulsory

arbitrafion,

                                COUTYT       m - VICARIOUS LIABILITY

          Walter E. Dellineen Jr v. Rlchards Orthonaedics anil SoorF Medicine' [,LC

          25.      Paragraphs   I   lhrough 24 are iacorporated herein as ifset forth at length-



"182631
                                                     I
        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 50 of 89




                                                                                                    care
                                                                 negligenq careless' and subsundard
            26.       Plaialiffs' ilamages were the result ofthe
                                                                                agents' employces'
                                           Richards Orthopaedics tbrough their
    pmvided to Mr. Dellinger by Defendant
                                                                                 in thc carc oI i/fu'
                                     Ricbards and any other individuat irivoh'cd
    aud ostonsible agents, Defondant

    Delli:rger as sct forth in paragraphs
                                          l'24 above'
                                                                                                aird
                      Delvn(tsnt Riohaxls Orthopaedios
                                                       is vicariously lieble for tho nogligence
                27.
    malpracticeofDefendantRichardsinfailingtorecognizethedelayinbealing'tred'theinfection
                                                                   perio'd to avoid multiple srugical
         proper Brtibiotic covetage' rrest for an appropriate time
    with

    proccduros ald pain cndurcd by Mr'
                                       Dcllingor'

                                                                      .                jurlpeot in his favor       and
                WIIEREFORE, Plaintitl Wslter      E   Dcllinger' Jr       dermnds

                                                                          an amount in erlcess                      of
                                             and Sports Medicine' LLC' in
     against Defendant Richards Orthopaedics
                                                   of costs and iu                 excess     of any jurisdiotional
     Iifty lhousmd Dollars ($50'000'00)' exclusive
     amount requirlng compulsory
                                 arbifation'

                                    COUNT IV _ VICARTOUS LIABTUTY
                                                                               o nd             er
                                   Jr               bers
         w
                                                      Eealth
                                                                                  if   set forth at   lengh'
                 28. Paragraphs I througb 2? are incorporated herein
                                                                             as
                                                                                                 '
                                                                            careless' and substandard care
                 29. Plaintiffs' dattages vere the rcsult of the negligent'
                                                                          Center' and Summit
                                            Charubersburg Hospital' Wound
      provided to Mr- Detlinger by DeGndant
                                                                                                         and aay   otter
                                               and oslcosible         age s' Dsfelrdsd Ranidi
      I{ealth through their agcnts, cmployccs'
                                                            as $ct   forth inparagraphs I -27 above'
      ir(livftlual involvod in tbe care of Mr'
                                               Dellinger
                                                                                                    is
                                                             Wound Centor' and Suilmit ilealth
                 30.   Defondsnt Cbambersburg Hospitat'
                                                                                         in fliling to
                    liable  for thc  negligmce  and malpractice of Defendant Ramidi
        vicariou*ly
                                                                                     prescribing samo
                                                   antibiotic' trcaftlent course and
\     . oprpropridely recommend fhe appropriEte
                                                                         Dellinger'
                                      pmcedures and poin endured by Mr'
        resuldng in mulliple sutgical


                                                        9
       53263I
             Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 51 of 89




                                                                              Health is
             3l,     Defendant Chambersburg Hospital. Wound Cenlot and Summit
                                                                    control practices in caring
vicariously Lablc for failing to maintain minimum shndald infection

                                                   coun e 8t the wound       centet iocludiDg hyperbric
for Mr, Dcllinger tbroughout bls heaklcnt

therapy.

                                                                Jr   demand'r judgment in his    favor   and
             WHEREFORS, Plaintiff Welter E' Dellinger,
                                                      and Sumnrit Heslth                  b   an arrounl in
agairst Defendaut Chamborsburg Hospitat, Wouod Ccnter

oxccssof}.iftyThousandDouus($50,000.00),cxolusiveotcostsandinoxcossolarry
j   wisriiutronal arnount requiring compulsory arbitratiol'

                                                   I -DAMAGES
                    E DELL       ER                                  T)        crt     CW
                                                                               o

                                                                      as Uset foflh ot lenglh'
             32.     l'arngraphs 1 through 31 arc incorporatod hcroin
                                                                          abovc' Ivlr' Dcllinger n'as
             33'     As a rcsult of tho Dcfcndants' ncgligence ss allogcd

    foredtoinourmedicalexpenscs'mdwillcoutinuetoincurmedicaloxpensesioan&moutrt
                                                       tt€otmanl' medications' end other similar
    untnown at this time, for surgical fteneng medical
                                                         ard olaims aro made therefor'
    exlrnsas in on attempt to restore himself to health,

              34.PlsiilifqMi.DcltingerwsscovercdbyMod.rcuePartA.Notilicarionhasbeetr

    providcdtoMcdicaro,Thesubrogatiouamolrntisunlrrpwuatthistimo;horvovet,clairrsare

    madp thercfor.
                                                                                  Mr' Dellinger
              35.     As a tesult of tho Defendants' negligence as alleged above,
                                                 disfigurcmen! Ioss       of life's pleasutes and cnjoymen!
    experieoce,d pain, suflflering, humiliarion,

                   ancl mental anguish, and claims are
                                                       made   thercfor'
    limitation,
                                                                            the damages sa forltr hcrein'
               36,    Defendants aro liable to wslter E, DcllinBcr, Jr. for




                                                    10
    582631
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 52 of 89




                                                   Jr' dcmands judgment                             ir    his favol and
        WHEREIORIi, Plaintiff Walter E' Dollinget'

againstDefondantsinatreulorEtinoxcossofFiftyThousaldDollaE($50'000'00)'oxclusiveof
                                                                         compulsory arbihation'
interest and costs, urd in excess
                                  of aly jurisdictionul smount requiring

                                   CLAIM      tr.   LOSS OF CONSORTITIM


                                                                              S




                                                                                 if   sot   for&   at   lenglh'
                                       lbrough 38 are iu;orporatod herein
                                                                            as
             37,   Paragraphs      I
                                                                    Plaintilf Loti L' Dellinger has
             38.   As     of the injuries sustained by her husband
                        a result
                                                                                             of her
                 of the carc, cusbndy,  society, consorrrum, ser+,icos, and companionship
 suffeltd a loss
                                                                                        and claims                Bre made
 husbantt, Waiter E. Dellinger,
                                          Jr" all of which losses a'e to her detriment'

 therefot
                                         Dorlinger demands judpent
                                                                   in hcr favor and againsl
             WHEREFoBE,
                        plabtirf Lori L.
                                                                                          int'crest aud
                            in  excoss  of Fifty Thousand Dollars ($50,000), cxclusive of
 DcfondaoE i.o 8n smount
                                                                           arbitation'
                              jrnisdictional amouut re<luiring compulsory
 co6ts, and i.n oxeess of any
                                                                RcspectfirllY submitted,
                                                                                                            '
                                                                ANGINO LAw FIRM, P.g.',




  Date:      *^r14, 2017                             by:-
                                                                                 Angino. Esqrure
                                                                            07140
                                                                        .   Front Sutet
                                                                        trg,PA 17t10
                                                                 fi17\238-6'19l
                                                                  bounsel for Plainnfs




                                                         n
   5t2!;11
             Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 53 of 89




                                CERTIFICATB OF SERYICE
                                                                             pleadiag' was
             I,   DawnFoehrkolb, hereby certify that a copy-of the foregoing
                         M'
forwanded to tbe following via first class mail, postrge pr+paid:

Mlslrael M. Bado*ski, Bsquire
Margolis Bloistein
3510     Trindlo Road
Camp      Hill,PA l70t I
!:   717-76G.7500
F: 717-975-8124
Dmail: mbadowsH@msrgolisedelst€in.com
Attorncys lor Dofcuiants, farti Richrds, DPM, FAC}'AS,-CWSP
*a ni"it*at Otttopaedic Center and SPorts Mediciae, LLC
Ganga Rnrnidi, M'D,
SL Dlizabe$ PhYsioians
2765 Chapcl Placc
Suite 250
Crestvicw Ells, KY 41017
Defendant

The Chambersburg HosPial
I I 2 North Seventb Street
Llhambersburg, PA 17201
I)cfondant

Wound Ccntcr
I t2 North Seventh Street
(ftambersburg, P A, lTZOl
Defer:dant

summit Healtb
112 North Swenth Strect
Chambcrsbwg, P A 17201
Defendant


,^*,{fe,/fi-otF                                        M, Foehrkolb,




 58263   t                                12
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 54 of 89




                                         VERIFICATJON

          I, Wattet E. Dcllinger, Plaintiff, have   read tho foregoi g Arocnded Complaiot and do

hereby swcar or affifio that thc facts set forth in lhe foregoing are true and concct to the best    of

my knowledgc, information and belicf. t un<lentand that this     vsrilicdion   is mado subject to   lhc

penolti es of. l8 Pa.C.S.A. Seotion 4904, relating to unswom falsifioation to authorities'


               4                                                    Jr.
                                               Waltor ts,

Date:.vay?.V,zotl                              Date:   uu#3, 20t7




582611
                                               t3
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 55 of 89




                                                 VERIX'ICATION

         I, Lori r. Dellinger, Plaintifr, have rcad the foregoing Amended comptaint arld do heteby

swear    or affro: that the facts   set   forth in the foregoing aro lruo aud collect to the bost of my

klowledge, information'aod betiei'.          I   rmtterstald that this Verification is made subject to.he

pmalties    o1118   Pa,C.S.A. Section 4904, relating to unswoto falsification to authoritisr.



                                                     I     I

oate: Moy     A{    2otz                             Dato: May   2{,20t7




i8261t
                                                      I4
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 56 of 89




        I
E,XHIBIT A
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 57 of 89




ANGINO L$? I,BM, P,C.
NCB,!iRD C. ANGNO
Aftmoy lDg : tr7t10
4t6 NoltllF DIt $lBd
Harldrrr& PA Urlc.lzo8
0tn7FE6nt.
PAX (7r7) 23r-1610
E{rull: tra@)mElDDlnc.com
Athtncyr for Phlntl6{s)

WALTAR B DH.LINOE& JR A}iD                     INTHBCOURTOF COfufN4ON I'LEAS
IORI LDBILNAFA                                 TAANKI"E{ COIINTY, PA
         Plrinriffa
                                               NO.

                                               CrvILACTION
KARLI RICIIARDS, TJPM, FACFAS,                 ],TEDICAI, TROFFSSIONAL f,IABILITY AC:TION
CWSP; CANOA IUI\4IDI, MD;
RICHARDS ORTHOIAEDIC CE.ITtsB                  JORY TBTAL U}iMAND}iI)
AND SPORTS MBDICINB. LI,CiTIIE
CI IAMBBRSBURd IIOS PITAI,,
WOLTND CEliTtR ond SUlvflvflT
HE./\LIII
      Ddqgspte

                  Ccrtittcrtc of Merit rr {o Kerll Ric}ards' D}IVL FACtrAgr CnVgP

l, Riohard   C,   Ao$to, ssrtifY that:

(x) an qpm,prioo liconsod pmftssional has srpplicd a writtsD shlcrloDt to rhc uadeNigllcd thEt
ilfilJ; bfir to cooolud; thtt tle oetc! slill or knowlodlgc Gx6oisod or sxhlbttcd       by ttir
dsfcndaDt ir thc fisat(uff , pracdce or wpt* thar ls &e subjcot ol thl compl*i:rq fcll .outricle
aooepable pot&slonol s!ryldar& and that ruoh eonduct was I sous€ in bringing ebor.tt tte harm;
AI,ID/OB

(  ) rbe clalm fhat this dcfadBil d€viEtld fsm on acoqtahlo ptofeesional s(mdcd is bued
iolitv un nllcuations Eut othct lioousod profcssiolals fm wlom lhis dcftndant is rcsponsiblc
devdted froe-m Ec+elrtable Dmf4sionsl stcdtderd ard an appropriUe licensed profesrional lus
srrpplie.d a unl$an shtcElent to tbo unde$tgod ftat t}!rc is s b88i8 k) conclurh that thc oarc, ekill
or kuowledge oxoniaed Ot exhibilcd by the other licarsed professionsls io the ftermeffi, pradiCe
oi work thit is tb uubjoct of tho complalnt &ll oulside ucccprable professtonal standsrds Bnd
tbat suoh conducl wis a cause ifit l4ging about dre harmS OB

( ) expat t€stiBotry of 6n aDpropriqte tccoscd
                                                                              lbr proseculion of thc
olaim ogainst tlrlo de&rdrult,

Dab; April 12,2017
                                                               C, r\ngino, Esqufuo




5?19t+
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 58 of 89




        I
EXIilBIT B
          Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 59 of 89




ANGLiO tA\r' t4R               /1,   tl.c.
HO{6irIr       C.     lJ.lot}lo
Afiollrcy    lt}f :    07110
{J03      }iBth FnEt q.!.{
Hrrllhr8!      PA I?ll0-l rcE
p1nn84nt
r,Ax (II7) 1J8't610
F/ruaiir r!!@and0othv.ooJn
Anorooyi fc.     Pldr(tqt)

WALTER E. DEI.LDIGFL, IR AIID                                          E.ITTIE CSURT OF COMMONPLEAS
LORI L. DSJJJNGtsR                                                     FRANKLIN LICUNTY.TA
      Plslnti{fs
                                                                       I'io.

                                                                       C]VILACTTON
KARLI RICIIARDS' DFI'4 F,rCnnS.                                        MBDICAL PROFESSIUNAL LIABIiJTY ACTION
CWSP; (IANGA ItAMlDl, MDi
RICHARDS ORTHOPAEDIC CENTF,R                                           JURY'TRIALDEM^NDEI)
AND SPOR'IS MEDTCINE' LLC;                               TllE
CHAMBEXSBURG HOSPITAL,
WOIJND CB{TER ard SUMMIT
H.EALTT]
             Dofpnd$Is

                                             Cd{*Ilcatr 0f lvlct'll   ac   to G.ngeB. RamfiIl, MD

t,,   Nshard C, Angino, certi$ thatr

(X) E! Eplr,oprialc liccuscd profoerioml has rupplied a wtifion'statsocant b tlu undenlgrcd lhat
ihrie is ; bisis to conctude fta dre ome, skill ot krowledga exetuised or o<hltiM by thle
defcrd0nt ln ttrc trcatcrea! proclice or work nt Is thc sut{oot of the complaid, fotl oultldo
accoptable pmfesaional standards and tlut suoh conduct was a corse in bringiug about tho harm;
ANDIOR

(     tho olaiu Out rhts dsfendslt dcviacd fmtu nn accopoblc pofcasionel staadgrd ig bascd
      )
iolcty on allegations tlrat othcr liccnscd profcsslonals for whom tbig dofcldant is nspoashlo
dqvlsted from an accoptablc ptofcssional shndard and an approplac licenscd profi*slonnl has
srpptled a wnficn statatrcnt to tho utdasigelt(l thst 6a$] is a b$iE lo oololudo thst thr ourq ckill
or knowledgo exorcised ot cxhlblM by thc olbcr Iicarssd pmfc*rlonds in the teauuenL plecdce
or work tbar is thc subject ot thc complalnt, fell outsl& arroeytablo profcsrional *landards and
tbgt srxb ooaduct was a causc in lnlnglrg obout tbo hatru oR

( ) expv4 t*umony of m rypropdato                             Umcd         pro&ssional lo                 Fro€oculioo   oflto
ctalm ugainst this defcadant

Pflr; april            12,2017
                                                                                            Argino, Esqul,!
                                                                 EXIIIBTTB


                                                                           )6
513991
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 60 of 89




       I
EXHIBIT C
     Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 61 of 89




A.\CINO LAWFIRM. O.C,
RICITABD C. ANGINO
AIomfrID, :      0rUO
45{B Nktlft   Fllr Sltttl
lllnltbDr& PA l?l l0.l?08
(117)23E-679r
F X (7r7) 2r$1610
E malb   r@o8Jmtm.tom
Araorroys $r Pldndfils)

WALTER& DELLINGBR,JR AN')                      IN TrE COURT OF CoI\AitONpi.EAs
LORI I,. DEI.LINGTfi,                          FRANKI,IN CO(NTY, PA
            l'lafutitrs     .


                                               NO.

                                               clvrLAcf ioN
I{ARLI RICHARDS, I'PM, IACFAq                  MEDICAT, PROFBSSIONAL TIABILITY ACTIO}{
CWSI GA}IGA RiMIDI, MD;
RICIIARDS ORTT{OPAEDIC CCN'I'ER                J   URY TR]AL DEMAI.IDSI)
ANN SPORIS MBDICINE TLQ TIIF,
CIIAMBBBSBURC} HOSP]TAL.
\[/OIJND CBNT.ER grd SUIIIA{IT
HMI.TII
            Defetrats

      CcrliEcrte of Mcrit g, to Rlchardo Ortbopnodic Conter eod Sporls Modicirq LLC

I, Riobard C. Angino, oortify tharl

( ) an aopmpriate ltceawd prcftslonal has supplied a rvrittoD. Ebtenent lo fte uotersigned thrt
il,![- tr-; basis tio conelude 6al the care, ekill or kuowledge orcrcised or o<hlbhod by thir
dcfEadant irr tb b€tEcnL pmctic,e or work that is tic subJoct of the complrlt' fell oualde
aocnptable prcfissionat gtaod-ards ard that suoh caoduct wat a cauao ia hirgirg, about lhe hmr;
r\NDiOR

[x] drc clairu ulot t]rls dofsrdart devialed oom 9I sccepbble pofrrsional_rttt'd[l1l
                                                                               ir
                                                                                     Is bosoi
i"i"ly - BtlegBtioru tlit olher licenrd profecuiorals for whom this defendant     responsiblo
arviuloa      ro.-^
                  aico?tabtc pcofsssiooal sta$drrd and m appropriatr: liconscd pro&ssional has
eupplicd r wtinen statE rl!ff f; Uo lrldlr$igtrcd thC thtre b A basis to coochtle that the cnrc' sklll
or'lorowlcdgo c,x.rclscd ot oxhibited by thc oftcr liceoscd proGsgionsh in &e tflibns,q plar6cg
or rvork thi is the gubject Ofths cohplainL fell cugtde aCcoptablc pmfcssioosl starulardg md
Sar such oonduct wu e cause in bdnghg aboutrhe lumtr; OR

( ) exporr tcstinony of an approprlate   tlcensed profcsslonal is                         rrtiorr   oflhc
slaim agninst $Js de-Iendant.

Dato: April 12,2017
                                                                            Esquilg

                                            E)fl{rxlT    C


                                                    17
1739M
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 62 of 89




EXHIBTT I T)
        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 63 of 89
                                                                                                             i
                                                                                                             I


                                                                                                             !




                                                                                                             I

                                                                                                             I

                                                                                                             i


                                                                                                             I
ANGITID         FIRM. P.C,
NICIIARD '.AY'
           C. A!{GIHO
Afio.o.t   lD, :   071{{)
{503 }turth   F$ol6tr!.t                                                                                     i
Isnirburg eA l71r&l?oE
(1l7)2l& (t'tgl                                                                                              i
rBX Ot?) 23&J6',10                                                                                           i
E-mrlh rc!@{rSholst{.aonl
Aomals Sr Plchlfir)                                                                                          I
                                                                                                             i
WALTBRE. DELLINOER, JR A}.ID                      IN TI{B COI]RT OF COMMON PLEAS
II)RIL. DELLINT}ER                                $RANKLIN COINTY, PA
      Plaintifie
                                                  NO                                                         :
                                                                                                             I


                                                  CIVILACTION
X.ARLI RICI{A]TDS, DPM, }'AC!'AS,                 MEDICAI PROFtsSSIONAL IJABILIY ACIIOi.;
CWSP; GANGA RNMIDT, MD;                                                                                      I

RICITARDS ORTTIOPAEDTC CENIER                     JURY TRIAL DEMANDBD
AND SPORTSMF,DICINT, I.IC; TTIE
CHAMBERSBURG IIOSPITAT,
WOUND CENTER 6nd SUMMTT
HE^I]TH
           Dct*ndails

Certi$clte ulMrrlt          0s to   Tte CtEnlorsburgEorpltrl' Wound Cmtcr eld Sxntmlt IIesUt

I, Ncbard C, Aneim, ccrtily          tluu

( ) u appropriato lio:nscd profcssional bas Aryplied a wittca r16tem6ot to thc ul}dosiSned rhat
thors is a baeis rc concludc lh6t tho !arc, rkill or knowlgdgo H(Fohcd or cxilbitcd by &is               I

&feodart ln tls tlatmerlt, prrdce or vrork tbat is {he subjoot of the co&phh! fcll oueitlc               I
acccplablc plbtbsstoaal st8ldsds and that guch cotduet was a o*uo h b'ringing about ihc ham;             I
                                                                                                         I
AND/OR
                                                                                                         !
                                                                                                         I
(X) the clairu fut this dcfcndar( dtvialed flom ar accopbblc profcscional shndatd is bascd
sololy on allegNttons that otlur lloerscd proftsaiorrEls for wtorrr ttls detbndant i* tespqtdble         I
deyiaEd ftom sn aroeplnblc profcselonal rtandard rd an agpropriale liceosed pmfcwiorul har
,flryIrUed a qdttm slsteoeDt to thc utrd€(signed &at thorc ie a ba:is h conslude tb.tt the carc, skill
or knowlcdgo exercisod or oxhibitod by tlrc othor tiocnred prcle*sionals in tbo taaun!trt, practioe
or wDrk thal is tbe subjcct oltho compl8ltrt, fell ouhlde accepublo profc*sional etrndads ud
                                                                                                         1

                                                                                                         I   I
that such oondrut was a cduse in bxi.t ging ubod tlo harm; OR                                                I
                                                                                                         ;

( ) orpert tentimony of an agprogriare lioased pmfossiolal ir unnecessury for proserutior of the
                                                                                                         I

clalo ageirrt this ilcfmdsnt.
                                                                                                         I
                                                                                                         I
Dater Apdl 12,2017                                                                                       I

                                                                            tllquiro                     I

                                                DXHTBITT)                                                        I

                                                                                                         i
                                                                                                         I       i

                                                                                                         I   i
                                                    l8                                                       I
silru                                                                                                        I
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 64 of 89




                                          IICII
          EXHIBIT
                Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 65 of 89


                    ANGINO LAW FIRM, P.C.
 fucHAxD C. ANGINo   RCA@ANGrNor^w.coM                                                                ANGINo & LtrTz P.c.    2o'r4 - 2015

                                                                                                    ANGTNo & Rovt'lER. P.C.   1983-2014

                                                                                                        BENJ MTN & ANGINO     1979.19E3




                                                          October 11, 2017



                         SENT VIA CERTI}'IED/RETURN RTCEIPT RX,OUESTED


U.S. Departrnent of Health and Human Services                                                        Iil  iflfll:fllitrFl
                                                                                                     i:r'
200 Independence Avenue                                                                              iit i: : : i) ,ltJl j
Washington, D.C. 20201
                                                                                                        ir1     U) [g t-oc] f     i
         Re:    Claimant:         Walter E. Dellinger, Jr.
                DIOIA:            1v1812015

Dear Sir or Madam:

       Enclosed please find claimant, walter E. Dellinger, Jr.'s claim for Damage, Injury, or Death, along
with Exhibits A and B.

       Should you have any questions or wish to disouss this matter please feel free to conJact me or my
paralegal, Michelle Kopp.

                                                               Very truly yours,

                                                              / t /..---'^-'.
                                                             l!./
                                                             \
                                                                                i
                                                               (cnrrd c. Aiieino

RCA/dmf
Enclosures

         Michael M. Badowski, Esquire
         Kevin E. Osborne, Esquire
         Samuel S. Dalke, Esquire




               45Og NorrH FBoNr   STREET IIAR8ISEURG,   PA I7I t O- 1799 PHoNe, (7171 238-6791   F^x, (7f 7) 238-5610
                                               (8OO)    648-2o70 wwrrr.ANGrH0LAw,co$


585430
                                Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 66 of 89

                      CLAIM FOR DAMAGE,                                          INSTRUCTIONS: Pbase read carefully the inslructions on the                             FORIV APPROVED
                                                                                 reverse side and supply lnformallon requested on bolh sides of (his                    oMB NO.    '1 1   05-0008
                       |NJURY, OR DEATH                                          form. Use addilional sheel(s) iFnecessary. See reverse side for
                                                                                 addifional inslructloos.
      1    . Submlt to Approprtal€ Federat Agsncy:                                                              2. NamE. addr€ss ordahant. and d8imant6 pelsonal represenlative i, any.
                                                                                                                   (Sce lnslr'rctions on revcGe). Number, Slreet, City, StEt€ and Zp code.

      United States Deparlment of Health and Human SeMces                                                       Walter E. Dellinger, Jr., 6065 Greenbrier Terrace,
                                                                                                                Fayetteville, PA 17222.
                                                                                                                Represented by Richard C. Angino, Esq., Angino Law Firm,
                                                                                                                P.C., 4503 N. Front St., Hanisburg, PA 17110
      3.   fiPE   OF EMPLOYMENT                 4. DATE OF BIRTH                5. MARffAL STATUS              6. OATE AND DAY OF ACCIDENT                           7. nME 6"M. OR P.M.)

           I utranv []             ovruaN        11D411938                      Married                         11118D015                        N/A                  lvA
      8. BASIS OF CLAIM (Slate h delail lho known facts and circumslances attendino           lie   damage, inlury, or deari, l.,gntrying p6rsons and propErty involved. the plac€ ot occurBnce and
         lhe causa thereol Use addilbnal pag€s if n€cessary).


      See attachnient.




                                                                                          PROPERry DAMAGE
     NAME ANOAoDRESS OF O\rvNER,lF OTHER THAN CLAIMANT (Number, Sbe6l, City, Slate, and Zip Code)-


     NONE
     BRIEFLY OESCRIBE THE PROPERTY. NATURE AND E(TENTOF THE OAI\,IAGE ANO TTIE LOCATION OF \4HERE THE PROPERTY MAY 8E INSPECTED
     (S€3 inslruclioos on r6verse side).



     NONE
     10,                                                                        PERSO}IAL ITIJURY/WRONGFUL OEATH
     STATE THE NATURE ANO EKIENT OF EACH INJURY OR CAUSE OF OEATH, WHIOH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT. STATE                                                      lHE   NAME
     OF THE INJURED PERSON OR DECEDENT.

     See atlachment.




     11                                                                                         WTNESSES

                                      NArllE                                                                   AOORESS (Number, Slreqt,       Clt, Slal6. andZipCode)

                        Walter E. Dellinger, Jr.                                          .             6065 Greenbrier Terrace, Fayetteville, PA 17222
                         Ganga Ramidi, M.D.                                      St. Elizabeth Physicians, 2765 Chapel Pl, Ste 250, Crestview Hills,                                 lg     41017
            Karli Rlchards, DPM, FACFAS, CWSP                                        Richards Orthopaedic Center, 144 S 8th St, Chambersburg, PA 17201
 1   2. (See inslruclions on rEverse).                                              AIIOUi{TOF 6LAIM (n dollar6)
 I2A. PROPERTY DAMAGE                          12b. PERSONAL INJURY                                  12c. WiONGFUL DEATH                         12d. TOTAL (Far'lure to spe.ily nEy caus6
                                                                                                                                                      forf€iture ol yourdshts).


 0.00                                          1,000,00Q.                                           0.00                                         1,000,000
 ICERTIFY THAT THE AMOUIII OF CLAIIT'                        OI{LY DAMAGES AND IIIJUTIIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAII' AMOUNT IiI
 FULL SATISFACTION AND FINAL                              OF IHIS CLAIM

13a. SIGNATURE OF                                         oi roiiili   slde).                                 ,I3b.
                                                     ns                                                               PHONE NUMBER OF PERSON SIGNINO FORM               14. DAIE OF SIGNAIURE

                                                                                                             ,1t1.^b\            lU       I                               lulro    lrl
                   '"' ./          ctvtt- pElraiw ron pnesExrwc                                                            CRlnl'NAL PETIALTYFOR PRESENTING FRAUDULEIIT
                   '                      iRA{TDULENTCLAI,                                                                        CLAIM OR MAKDTG FALSE STATEMENTS

The daimant lsliable to lhe U nllsd Slatd. s Governmcflt tor a civtr penalty of nol l€ss lhan                Rne, ImprisonmenL or bolh. (See 18 U.S.C.287,1001.)
9s,000 and not morelhan Sr0,O00i pluj 3 Umesth€ smount o, damsges sustained
by lh6 Govemmenl- (sss 31 U.s.C.3729).

Aulho.ized fo. Local Reprod                                                           NS      7510-XX-XXXXXXX                                            STANDARD FORM 95 {R$t.2t2o17)
Prevlous Editlon is not Usable                                                                                                                           PRESCRIBEO BY OEPT. OF JUSTICE
                                                                                                                                                         28 CrR 14.2
95-109
                                Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 67 of 89

                                                                                            INSURATICE COVERAGE



     lS, Do you   c.ny   !cdd.     lrButEncc?     n Yer lr F,          gh,! n nE   rri   ldd.!3r o,lnturan.! cofip.oy (tlurtbc.,      gr!!(   Ctty,   Sbb. .nd      Zlp Cod.) and po&, numb.r.
                                                                                                                                                                                                     D   No

    N/A



    16. Hav6 yolr   f ed   a clalm wilh your insur.rlc!   eder   in this in3tance, and lf so, ls iliullcdv.r?ga or ds.lucUble?                                      17. lf deducliblB. stale am@nt




    N/A                                                                                                                                                             0.00

    IVA




   N/A




                                                                                               I   STRUC'lONS

  Claims ptesented under the Federal Tort Claims Act should ba submitted direclly lo the "approprlata Federal agency" whose
  employee(s) was involved in the incident. lf the incidont involves more than one clalmant, each claimant should submit a separate
  clalm form.

                                                                 Complste all lt6rns. rnser{ the word NONE where appllcabl€.

  A CLAIM SI.IALI BE DEEMEO TO }IAVE BEEN PRESENTED WiEN A                         FEDERAL OAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSOML
  AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZEO AGENT. OR                        LEGAL INIjRY. OR DEAIH ALEGEO TO iNVE OCCURRED SY REASON OF THE INCIDENT-
  REPRESE} ATIVE, AN EXECUTEo STANoARD FoRM 95 oR oTHER                             WRITTEN THE CLAIM MUST aE PRESENTEo To THE APPRoPRIATE FEDERAL AGENoY WIIHIN
  NOTIFICATION OF AN INCIDENT, ACCOMPANIEO AY A CLAIM FOR                          MONEY      !trOJEAESAFTER THE CLAIM ACCRUES-
                      .xecrte thl3 brm or to Eupply th€ rcquest d malcri.l wllhln
  F€llurE to complolely                                                                                  Th6 amount claim.d should b6 subslanualc., by compet€nt Evideic€ as 6ollows:
                        lh. chlltl iccrued m.y r€nde, you. Elalm lnvrlld. A c,rlm
  tr!/o ycerE trom the datc
  is deemed prelcnted when ltis recelved by(h. approprlrt. .gEncy, notwton ltls                          (aJ ln supporl of lhs dalrn lor pc.sonal lnjury or dsu, the claima.t shoold submit a
  malled.                                                                                                wriflen repo( by iic atcnding physician, showins lh. nalure Bnd extent ot he lnjury. lh!
                                                                                                         naluE arld cxlcnt of lraaknant, fie degGc of permsncnt dlsabillly. It any, thc prcgnosls.
                                                                                                         and lhc poriod o, haspibli2aiio^, or lncapacitaton, atechiog it€mizcd bfls tor medical.
 lf instruc0on ls nced€d in complefiogr s toflr,lho agoncy llsled lnllemrl on lhe ravBlsa                hospibl, or bud6l erpenscs astrally locunE(!
 slde may be conlacted. Comdete regulatons pedalrrng to ciaims ass.rlad und.r lh€
 Fcd.BlTorl Claims Acl can be folnd io TIUe26. Cods ot F€dsEl R€gulatoos, Part 14.
 ManyasaDcles hav€ publishod supp,ementins .cgulations. lf more lhanorcag.nc, k                          fD, ln suppoi ol claim! fo, daoage to property, whlci has bEen or car be economlcrlly
 lnvolvcd, pleasc slala €soh agency.                                                                     .cpairEd,lhe clalmsnt should $!mit at l€asttro itcmized signed shtemcnb or es[m8lEs
                                                                                                         by lallabl., di6lnlorEsH concsmc, or. lf paymcnt hEs been made. h. itemtsed siJned
                                                                                                         rEceipG evircndng       paf nenl
 The dalm fnay b6 fllle.l by s duv aulhonzed agent or olh.r llgal rEpro!6nhlivo, prDvlded
 cvirence salisfactory t!, the Oo!€mmenl ls submftted wllh lh6 clelm err. ishlng cxprEss
 authority Io sct tor lho cl8lmant A d.lm prcscnled by En sgent or lcgal GprEs€ntativ6                  (c) lo support of dalms lbr damrgE lo propcny *hlch h not economlcally rcpairablE, or It
 musl be pr6.nted in lhe iame of the daimant lf th6 clalm ls signed by h, ag6ot ot                      he propedy ls lost or deslroy€d, lh. clalmant should submit shlemcnls as lo th6 odglnal
 Iegal rcpres€nlstjve. lt rrust show lh6 0lls orlegal capaciv otlhe p€rson slgnlng and be               cdtt o{ ths prcp€rv, 6rre dalE of purchass, ard lhe vdu! of the pmp€rty, boh b€fore and
 accompanied by Gvldenc€ oI hls/tE. authoriv to prcs€nt a claam on b.hl, o, the clalmant                afrortho acddent. Such statemenB shodd Ile ty dlsioleEsted comp6entpeBon3,
 as .gent, .xeculor, adminiliralor. parefil goadian or other lEposeniatiw.                              prefer.Hy Eputabl€ dgalers or oflicJ.ls far,{liar wllh the typg o{ p{opedy damaged. or try
                                                                                                        tv,o or more compel,lke bldd.rs. and should be cortn€d as b?lns iusl and corEcL

 lf dalmaot lntends to lile for both personsl Inll"vy and pFp€rty dlllragq lhe qnrountb.
 €ech must b6 rio*n In it6m numb€r 12 of lhis tom.                                                      (d Fallurc to rpccfy a ium cert ln will rend.r your claim lnv.lld .nd may result ln
                                                                                                        forfeltu.e of your rlghtr.

                                                                                          PRIVACY ACT NONCE
Thls Not&e lE provided ln 3cclrdanca lyllh the Prirac,y Acl. 5 U.S.C, S52s(6X3), and                 I A- tuir:}.i,pd Putpofi: In6 inloqrEtlofl rlqu.3ted ls lo be uscd in .vElus[ng c]aiflls.
corcem6 lhe lnromalion rEqueBled in tI6 letler to whlch thie Nouce ls .tbdEd.                        I C. RouUne Usa: Src lhe Nouc6e oI SFlEms of R.cords fo. lh€' sgency lo whom ydi sre
     X Auhonv: Tha Gquosled lnfDmal,on ls srllcitsd pqrsuanl to one or morB of lhs                   I    subn fllog lhis lorm for ltr's inlonnsllon.
       followlng: 5 U.S.O.301.28 U.S.C.5ol !t seq.,28 U.S.C. 2671 st scq., 28 C.F.R.                 I O. EneI ol FafluE lo ResForrdj Olidosrr! (om   Is volunlary. However, Hlur€ lo sumly the
                                                                                                     I    rcq'i.stod Informsdon or lo €rcc!'t. lhe         may rend€r yow claiD 'lnv.lld.'

                                                                               PAPERWORX        REOUCIq ACT }IOTIOE
THs nodE! ls solBly for he purpos. of {he PaPetwork Radrrclbo As{, {4 U.S.C.3501, Public rspoding b|/der                   foa   fils crllocllm   of ioto   mrtbn   ls r5timaGd lo avBdge 6 hours p€r




firrm(s) lo   hcs. lddrEsrcs.
                                                                                                                                                        STANDARD FORII' 95            REV.   (2007} BACK
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 68 of 89




 8. BASIS Of CLdM (State in detail the Ioowu facts and circumstances attending the
 damage, injury, or death, identify persons and property involved, the place rif occurrence
 and the cause thereof. Use additional pages if nece.ssary).

          Mr. Dellinger had a surgical procedure performed on his foot and ankle on Juty 15,2015.

 After surgery, Mr. Dellinger was seen by Ganga Ramidi, M.D., who has since been identified          as


 a federal employee covered by the FTCA as she was previously employed by Keystone Rural

 Health Center, although Mr. Dellinger only saw Dr. Ramidi at Chambersburg Hospital. Dr.

Ramidi prescribed a course of treatrnent to deal with an infection for Mr. Dellinger.

         The negligent conduct of Dr. Ramidi started on November 18, 2015, when Mr. Dellinger

was admitted to Chambersburg Hospita.l for right heel cellulitis and possible abscess. Io the

history and physical Dr. Richards writes, "I did contact Dr. Ramidi and got her recommendations

as   well. Sho did also recommend sdmission for IV antibiotio therapy and surgical washout." Mr.

Dellinger did undergo an operative procedure which included a right posterior heal bone biopsy,

righr heel culturq hardware removal fiom the posterior calcaneus, exploration of plantar right

heel and washout ofposterior right heel. The operative report indicates the need for six (Q weeks

of IV antibiotic therapy secondary to infection and possible osteomyelitis.

         Additionally, on November 18, 2015, Mr. Dellinger was seen by Dr. Ramidi                    at


Chambersburg Hospital post-surgery. Defendant Ramidi recommended, "empiric broad

spectrum antibiotics lr/ith   IV   Vancomycin. . .and      [V   Cefepime.. .for gram positive coverage

including Methioillin Resistant Staph Aureus (MRSA) and gram negative coverage including

pseudomonas,"

         On November 20,2015,IvIr. Dellinger was discharged from Chambersbug Hospital on

lV Vancomycin viaPICC Iine with antibiotic management by infectious            disease and follow-up at

the Wound Center.



                                               ssslz   1
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 69 of 89




          On December 18, 2015, [V Vancomycin was discontinued due to a rash. lv{r. Detlinger

  was subsequently placed on oral Doxycycline.

          On January 27,2016, an abscess on Mr. Dellinger,s right lateral foot was noted aad

  drainage was cultured and grew MRSA with the sarne antibiotic sensitivity profile as previously

  culhued.

         On February 21,2016, Mr. Dellinger underwent another operation to remove all t}re

 remainirog hardware from his a.nkle. Intravenous antibiotic of Teflaro (Ceftaoline) was started.

         On March 24,2016,IvIr, Dellinger was Doted to have persistent delayed healing of the

 wounds of his right heel and foot.

         On June 6,2016,1v{r, Dellinger's "right        a*le     wounds were one hundred (100) percent

 healed. There was no evidence of infection. Radiographic studies completed revealed valgus

 deforrnity of the right ankle secondary to loss            of   lateral talus height ftom previous bone

 infection. No evidence of aoute infectioir on x-ray."

        However, on July 14, 2016,         Mr. Dellinger presented to           Chambersbrug Hospital

Emergency with a right leg infectiotr. Blood culhres obtained resulted with MRSA. Radiology

reports revealed changes of probable osteomyelitis of the right calcaneus, talus, and lateral

malleolus ankle bones. Intravenous antibiotics of Teflaro were again started and Mr. Detlinger

was referred to another facility for evaluation and treatment.

        Dr. Ramidi was negligent in properly diapose and treat Mr. Dellinger's wounds and

infections. Specifically, Dr. Ramidi was negligent in her failure: to recomrnend suffioient

antibiotic coverage to treat ivlr. Dellinger's MRSA infection resulting in multiple surgical

procedures; to recommend antibiotic treatnent duration to eradicate the MRSA infection which

resulted in multiple surgical procedures; to properly manage the post-operative ankle infection



                                               seslqz   2
          Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 70 of 89




  which resulted     in    increased pain;   to    prescribe suficient antibiotic covelage   to treat   I\zIr.

  Dellinger's MRSA infection resulting in multiple surgical procedures.

  10. PERSONAL INJURY/WRONGF'UL DEATE

          As   a result   of the Defendants' negligence as alleged above, Mr. Dellinger was forced to

 incur medical expenses, and will continue to incur medical expenses for surgical treatment,

 medical foeatnent, medications, and other similar expeuses in an attempt to restore himself to

 health, aad claims are made therefor.

         Mr. Dellinger was covered by Medicare Part A. Notification has been provided to

 Medicare, If there is a subrogation amount, claims are made therefor.

         As a result of the Defendant's negligence as alleged above, Mr. Dellinger suffered lost

 past and future eamings and eaming capacity, and claims are made therefor,

         As a result of the Defendant's negligence as alleged above, IvIr. Dellinger experienced

pain, suffering, humiliation, disfigurement, loss of life's pleasures and enjoyment, limitation, and

mental angu.ish, and claims are made therefor,

        As a result of the injuries sustained by her husband, Lori L. Dellinger has sufflered      a loss

of the care, custody, society, consortiurn, services, and companionship of her husband Walter E.

Dellinger, Jr., all of which losses are to her detriment, and claims are made therefor.

12. AMOUNT OX'CLAIM (in dollars)

        See attached as      Exhibit A for   the   list of medical records that were sent to an Expert in

order to form a statement of merit as to Dr, Ganga Ramidi's negligence, now being                used to

support Mr. Dellinger's claim of $1,000,000 for the extensive injuries he suffered. In addition

IrtIr. Dellinger's medical bills are attached as    Exhibit B.




                                                     sE$a 3
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 71 of 89




                                         rrprr
         EXHlBlr
        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 72 of 89
                                 t                                        (


{k
                             I




         DEPARTMENT OFEEAITH & EUMAN SERVICES
                                                              Office ofthc Orncrol Counscyccncral law Division
                                                                                            .       Clairns   Offco
                                                                                             330 C Strcct S.W.
                                                                                   Switzcr Buildin& Suilc 2600
                                                                                       Washington, D.C.20201
                                               FEB   22 nB                                  Pht (202) 69r-.2369




U. S. CERTIF'IED MAII--RETI,JRN RECEIPT REOI]ESTED
(Article No. 7AD2v20 0000 6882 9356)
                                                                              it                :   1 ;-1 1.7

                                                                                            ir.lj"'tl
fuchard C. Angino, Esq.
Angino Law Firm, P.C.
4503 North Front Sfieet
Harrisbnrg, Pennsylvania 171 1 0-1 799

Re: Administrative Tort Claim of Walter E. Dellinger. Jr', Ctaim No' 2018'0020

Dear Mr. Angino:

On October l3,2O17,you fiIed an administrative tort cleim under the Federal Tolt Claims Act
(.FTCA.), 28 U.S.c' $$1346(b),2401(b),2671.80, on behalf of youl client, Walter E. Dellinger,
jr., ale*i"g, inteT alia, rhag oo i\orr".bo 18,2015, Dr. Ganga Ramidi aod Keystone Rural                        .



ffealttr C"nier, located in Chambersburg, Pennsylvania, committed medical malpractice by
failing to properly diagnose and treat lvk. De[inger's medical condrtion'

 The FTCA authorizes the settlement of any claim of money damages against the united states
 for, inter alia,injury or death caused by the negligent or wrongfrrl act oI omission ofany
 employee of theiederal govem$ont, while acting within the scope of emPloyment. Undgthe
 FIbA; said act or omission must be such that the United States, if a private person; wogld be
 liable to the claima$ in accordance with the law of ttre place where the aot or omission occurred'
 28 U.S.C. $ 2672.

 This lettsr coNtitutes the notice of fina] deterrrination of this administrative tort claim, as
 required by 28 u:s.c. $$ 24ol$),2675(a). The administrative toft claiE of waltff E. Dellinger,
 L., is aenild, The evidence faiis to establish that the atleged injuries were due to the negligent or
 wrongful act or omission of a federal employee acting within the scope of employment.

 Ifyour client is dissatisfied with this determination,   he may:


         1.      file  wrilten request with the Agency for reconsideration ofthe final
                        a
                 determination denying the claim within six (6) months from the date of
                 mailing of this determination (28 C'F.R $ 14'9); or
        Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 73 of 89
                            {



Page 2- Richard C. Angino; Esq.

       )       file suit against the United State's in the appropriate federal distiot court
               wiAnn s;x (O months ftom the date of mailing of this determination (28
               u.s.c. $ 2401(b).

ln the event your client rcquests reconsideration, the Agency will review the administrative tort
claim within six (Q months from the date the request is received. If the reconsidered
srlminishafiys 16rt claim is denied, your client may file zuit within six (Q months from the date
of mailing of the finel detemination.

                                                       Sincerely Yours,



                                                         D"ll,^, a D;//ar,/rh
                                                       William A, Biglow
                                                       Deputy Associate General Cbunsel
                                                       Clairns a:rd Employment law Branilr
           Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 74 of 89



                                                           > (http://faq.usps.com/?articleld=220900)
USPS Tracking'                                      FAQS




                                      Track Another Package                 *


                                                                                                  Remove X
Tracking Number:            7   01   22920000068829356

Your item was delivered to the front desk or reception area at 11:33 am on February 27,
2018 in HARBISBURG, PA 17110.




I      Delivered
February 27 ,2018 at 1 1:33 am
Delivered, Front Desk/RecePtion
HABRISBURG, PA 17110




    Tracking History


    February 27, 2018, 1 I :33 am
    Delivered, Front DesuRecePtion
    HARRISBURG, PA 17110
    Your item was detivered to the front desk or reception area at   1 'l   :33 am on February 27 ,2018 in
    HARRISBURG, PA 17'I10.



    February 26,2018
    ln Transit to Next FacilitY



    February 25,2018
    ln Transit to Next Facility
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 75 of 89




                                          IIEII
           EXHIBIT
         Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 76 of 89


February 24,2018
ln Transit to Next Facility



February 23, 2018, 9:37 Pm
Departed USPS Regional Facility
HARRISBURG PA DISTRIBUTION CENTER



February 23' 2018,10:30 am
Arrived at USPS Regional FacilitY
HARRISBURG PA DISTRIBUTION CENTER



February 22, 20'18, 1 1 :17 Pm
Departed USPS Regional FacilitY
GAITHERSBURG MD DISTRIBUTION CENTER



 February 22, 2018' 1 0:59 Pm
 Arrived at USPS Regional Facility
 GAITHERSBURG MD DISTRIBUTION CENTER




 Product lnformation


                                         See Less   A



                    Gan't find what You're looking for?
             GotoourFAQssectiontofindanswerstoyourtrackingquestions.


                         FAQs (http://f aq.usps'co m/?adicleld=220900)
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 77 of 89




          Exhibit 4
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 41
                                                       78 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 42
                                                       79 of
                                                          of 52
                                                             89
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 80 of 89




          Exhibit 5
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 44
                                                       81 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 45
                                                       82 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 46
                                                       83 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 47
                                                       84 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 48
                                                       85 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 49
                                                       86 of
                                                          of 52
                                                             89
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 50
                                                       87 of
                                                          of 52
                                                             89
Case 1:18-cv-02119-YK Document 1-2 Filed 11/02/18 Page 88 of 89




          Exhibit 6
Case
Case 1:18-cv-02119-YK
     1:17-cv-01537-YK Document 1-2 Filed
                      Document 1-1 Filed 08/28/17
                                         11/02/18 Page
                                                  Page 52
                                                       89 of
                                                          of 52
                                                             89
